                                                               1                                                              3
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 1 of 52
    1           IN THE UNITED STATES DISTRICT COURT                 1   APPEARANCES:
    2           FOR THE SOUTHERN DISTRICT OF FLORIDA                2   FOR PETITIONER:
    3                         MIAMI DIVISION                        3             BARET LAW GROUP
                                                                                  By: ELAN I. BARET, ESQ.
    4   _____________________________________                       4             3999 Sheridan Street
                                             )                                    Suite 200
    5   FARHAD AZIMA,                        )                      5             Hollywood, Florida 33021
                                             )                                    (954) 486-9966
    6                       Petitioner,      )                      6             elan@baretlawgroup.com
                                             )
    7   vs.                                  ) Case No.:            7
                                             ) 1:22-MC-20707
    8   INSIGHT ANALYSIS AND RESEARCH LLC    )                      8   FOR RESPONDENTS:
        AND SDC-GADOT LLC,                   )
    9                                        )                      9             MILLER & CHEVALIER CHARTERED
                            Respondents.     )                                    By: KIRBY D. BEHRE, ESQ.
   10   _____________________________________)                     10                  IAN A. HERBERT, ESQ.
                                                                                  900 16th Street N.W.
   11                                                              11             Black Lives Matter Plaza
                                                                                  Washington, D.C. 20006
   12                                                              12             (202) 626-5800
                                                                                  kbehre@milchev.com
   13                                                              13             iherbert@milchev.com
   14            Videotaped 30(b)(6) Deposition of                 14
                                                                                  BURLINGTONS LEGAL, LLP
   15                         SDC-GADOT LLC                        15             By: DOMINIC HOLDEN
                                                                                  5 Stratford Place
   16       by and through its Corporate Representative            16             London W1C 1AX
                                                                                  +44 20 7529 5420
   17                          AMIT FORLIT                         17             dominic.holden@burlingtons.legal
   18                    Wednesday, July 20, 2022                  18
   19             11:09 a.m. Israel Daylight Time                  19
   20                                                              20
   21                                                              21
   22                                                              22
   23                                                              23
   24                                                              24
   25   Reported by: BRENDA MATZOV, CSR NO. 9243                   25
                        JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                          30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC


                                                               2                                                              4


    1             Videoconference 30(b)(6) deposition               1   APPEARANCES (Continued):
    2   of SDC-GADOT LLC, by and through its Corporate              2   ALSO PRESENT (in Israel):
    3   Representative, AMIT FORLIT, taken in the                   3             MITCHELL COOPERSMITH, Videographer
    4   above-entitled cause pending in the United                  4             HAYA SHAVIT-KEDAR, Hebrew Interpreter
    5   States District Court, for the Southern                     5             RUCHIE AVITAL, Hebrew Interpreter
    6   District of Florida, Miami Division, before                 6
    7   BRENDA MATZOV, CSR NO. 9243, at the David                   7   ALSO PRESENT (remotely via Zoom):
    8   Intercontinental Hotel, Tel Aviv, Israel,                   8             LESLEY SEMONES, Miller & Chevalier
    9   and simultaneously in the Zoom participants'                9             FREDERICK WILMOT-SMITH, Burlingtons Legal
   10   remote locations, on Wednesday, the 20th                   10             LUKE HACKETT, Burlingtons Legal
   11   day of July, 2022, at 11:09 a.m. Israel                    11             FARHAD AZIMA
   12   Daylight Time.                                             12
   13                                                              13
   14                                                              14
   15                                                              15
   16                                                              16
   17                                                              17
   18                                                              18
   19                                                              19
   20                                                              20
   21                                                              21
   22                                                              22
   23                                                              23
   24                                                              24
   25                                                              25
                        JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                          30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC
                                                                   5                                                       7
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 2 of 52
    1                          I N D E X                                1          Q U E S T I O N S I N S T R U C T E D
    2   WITNESS                                                         2                 N O T T O A N S W E R
    3   Amit Forlit                                                     3                      PAGE     LINE
    4   (Witness Location: Tel Aviv, Israel)                            4                       179      10
    5                                                                   5
    6   EXAMINATION                                        PAGE         6
    7   By Mr. Behre                                         11         7
    8                                                                   8
    9                       E X H I B I T S                             9
   10   NUMBER          DESCRIPTION                     MARKED         10
   11   Exhibit 1       Document Entitled                              11
                        "Subpoena to Produce
   12                   Documents, Information,                        12
                        or Objects or to Permit
   13                   Inspection of Premises in                      13
                        a Civil Action," Service
   14                   Date March 23, 2022                            14
                        (No Bates Number)                    45
   15                                                                  15
        Exhibit 2       Document Entitled
   16                   "Electronic Articles of                        16
                        Organization for Florida
   17                   Limited Liability Company,"                    17
                        for SDC-Gadot LLC, Date
   18                   Filed October 18, 2017,                        18
                        and Related Documents
   19                   (No Bates Number)                    61        19
   20   Exhibit 3       Two Affidavits of Amit                         20
                        Forlit, Dated May 12, 2022,
   21                   and June 1, 2022                               21
                        (No Bates Number)                    73
   22                                                                  22
        Exhibit 4       Multiple Citibank Bank
   23                   Statements for SDC-Gadot                       23
                        LLC, Multiple Dates
   24                   (SDC-GADOT-CITI_00044 to 00147)     114        24
   25                                                                  25
                       JULY 20, 2022 - AMIT FORLIT                                       JULY 20, 2022 - AMIT FORLIT
                         30(B)(6) SDC-GADOT LLC                                            30(B)(6) SDC-GADOT LLC


                                                                   6                                                       8


    1                       E X H I B I T S                             1                 WEDNESDAY, JULY 20, 2022
    2   NUMBER          DESCRIPTION                       MARKED        2             11:09 A.M. ISRAEL DAYLIGHT TIME
    3   Exhibit 5       Document Entitled "Letter                       3
                        of Engagement," Dated
    4                   March 1, 2016                                   4             THE VIDEOGRAPHER: Today's date
                        (No Bates Number)                   162
    5                                                                   5   is July 20th, 2022. The time on the video
        Exhibit 6       Multiple Invoices from
    6                   SDC-Gadot LLC to Page                           6   monitor is 11:09 a.m.
                        Group ME Ltd. and Page
    7                   Risk Management DMCC,                           7             This is the videotaped deposition
                        Multiple Dates
    8                   (No Bates Number)                   165         8   of Amit Forlit, in the matter of Farhad
    9   Exhibit 7       Multiple Invoices from                          9   Azima versus Insight Analysis and Research
                        Gadot Information Services
   10                   to PPS Ltd., Multiple Dates                    10   LLC and SDC-Gadot, being heard in the United
                        (No Bates Number)                   172
   11                                                                  11   States District Court, Southern District
        Exhibit 8       WhatsApp Messages between
   12                   Stuart Page and Amit Forlit                    12   of Florida, Case No. 1:22-MC-20707.
                        (No Bates Number)                   175
   13                                                                  13             This videotaped deposition is
        Exhibit 9       E-mail from Mario Ros
   14                   to "amit@gadot.co" Dated                       14   taking place in Tel Aviv, Israel, as well
                        September 7, 2019, Subject:
   15                   "Citibank"                                     15   as parties are attending remotely.
                        (SDC-GADOT-CITI_00155)              181
   16                                                                  16             Would the counsel present in
        Exhibit 10      Document Entitled "Project
   17                   Beech Report - Farhad Azima,"                  17   Tel Aviv please voice-identify themselves
                        Dated August 4, 2015
   18                   (No Bates Number)                   183        18   and whom they represent.
   19   Exhibit 11      Document Entitled "Project                     19             MR. BEHRE: Good morning, Kirby
                        Beech - Comprehensive Action
   20                   Plan," Dated January 26,                       20   Behre, on behalf of Farhad Azima.
                        2016
   21                   (No Bates Number)                   193        21             MR. BARET: Morning. Elan Baret,
   22                                                                  22   on behalf of SDC-Gadot and Insight.
   23                                                                  23             MR. HERBERT: Ian Herbert, on
   24                                                                  24   behalf of Farhad Azima.
   25                                                                  25             THE COURT REPORTER: Dominic?
                       JULY 20, 2022 - AMIT FORLIT                                       JULY 20, 2022 - AMIT FORLIT
                         30(B)(6) SDC-GADOT LLC                                            30(B)(6) SDC-GADOT LLC
                                                             9                                                               11
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 3 of 52
    1               MR. HOLDEN: Dominic Holden, on                1                             AMIT FORLIT,
    2   behalf of Farhad Azima.                                   2                called as a witness, was examined
    3               THE VIDEOGRAPHER: Something is                3                and testified under penalty of
    4   making noise. I don't --                                  4                perjury as hereinafter set forth.
    5               THE COURT REPORTER: Let's go off              5
    6   the record for a second.                                  6                             EXAMINATION
    7               THE VIDEOGRAPHER: Can we go --                7   BY MR. BEHRE:
    8   off the record at 11:11.                                  8          Q.    Good morning, Mr. Forlit.
    9               (Recess from 11:11 a.m. to 11:15 a.m.         9          A.    Good morning.
   10        Israel Daylight Time.)                              10          Q.    Would you please state your full
   11               THE VIDEOGRAPHER: Back on record             11   name for the record?
   12   at 11:15.                                                12          A.    Amit Forlit.
   13                                                            13          Q.    And how old are you?
   14                      HAYA SHAVIT-KEDAR                     14          A.    Soon 55.
   15                              and                           15          Q.    And where are you a resident in?
   16                        RUCHIE AVITAL,                      16          A.    In Israel.
   17               the interpreters, were duly affirmed         17          Q.    What countries are you a citizen
   18               to translate from English to Hebrew          18   of?
   19               and from Hebrew to English.                  19          A.    Only Israeli citizenship.
   20                                                            20          Q.    So you're here today to testify
   21               (The following proceedings were              21   on behalf of SDC-Gadot LLC; is that correct?
   22        conducted through the interpreters,                 22          A.    Yes.
   23        unless otherwise indicated, and                     23          Q.    And is that a Florida corporation?
   24        excluding colloquy.)                                24          A.    Yes.
   25   //                                                       25          Q.    And is that your company?
                       JULY 20, 2022 - AMIT FORLIT                                       JULY 20, 2022 - AMIT FORLIT
                         30(B)(6) SDC-GADOT LLC                                            30(B)(6) SDC-GADOT LLC


                                                            10                                                               12


    1               THE COURT REPORTER: I will ask                1          A.    Yes.
    2   counsel to please stipulate that, in lieu                 2          Q.    And is Insight Analysis and Research
    3   of formally swearing in the witness, the                  3   LLC also your company?
    4   reporter will ask the witness to acknowledge              4          A.    No.
    5   that their testimony will be true under the               5          Q.    How about Insight GSIA, is or was
    6   penalties of perjury, that counsel will not               6   that your company?
    7   object to the admissibility of the transcript             7          A.    No.
    8   based on proceeding in this way, and that                 8          Q.    How about Gadot Information Services,
    9   the witness has verified that he is Amit                  9   is that your company?
   10   Forlit.                                                  10          A.    Yes.
   11               Counsel, do you agree?                       11          Q.    Who owns Insight Analysis and Research,
   12               MR. BEHRE: Agreed.                           12   if not you?
   13               MR. BARET: Agreed.                           13          A.    A gentleman who manages my finances.
   14               THE COURT REPORTER: Mr. Forlit,              14   His name is Omri Gur Lavie.
   15   do you hereby acknowledge that your testimony            15          Q.    And what about Insight GSIA, who
   16   will be true under the penalties of perjury              16   owns that?
   17   and do you affirm that the testimony you                 17          A.    If I recall, his name is Effi
   18   are about to give in this deposition will                18   Lavie.
   19   be the truth, the whole truth, and nothing               19          Q.    And do you have any ownership
   20   but the truth?                                           20   interest in Insight Analysis and Research
   21               THE WITNESS: Yes.                            21   LLC?
   22   //                                                       22          A.    I don't have an interest in the
   23   //                                                       23   ownership. But I am partner to its management.
   24   //                                                       24          Q.    And what management position do
   25   //                                                       25   you hold?
                       JULY 20, 2022 - AMIT FORLIT                                       JULY 20, 2022 - AMIT FORLIT
                         30(B)(6) SDC-GADOT LLC                                            30(B)(6) SDC-GADOT LLC
                                                            13                                                            15
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 4 of 52
    1           A.   This is -- I'm not quite sure                1   BY MR. BEHRE:
    2   I understand. This is a wallet company.                   2          Q.    Okay. So in preparation for your
    3   Almost every decision that is made is                     3   testimony today, you said that you reviewed
    4   made by me.                                               4   some documents; is that correct?
    5           Q.   A wallet company?                            5          A.    Yes.
    6           A.   The company was established                  6          Q.    And what have you reviewed to
    7   mainly because there was a problem                        7   prepare for your testimony here today?
    8   transferring monies from Dubai to Israel                  8          A.    Affidavits given by Stuart Page.
    9   at that time. And at the request of                       9          Q.    Okay. Anything else?
   10   Mr. Page, two companies were established                 10          A.    Bank accounts. Invoices for --
   11   in the United States to facilitate the                   11   for Stuart Page.
   12   transfer of money.                                       12          Q.    And when you say "bank accounts,"
   13           Q.   Okay. Okay. Well, we'll get                 13   what are you referring to specifically?
   14   a little more into that later.                           14          A.    I wanted to see when we first
   15                You know who I am -- right? --              15   charged for the work concerning Khater
   16   Kirby Behre?                                             16   Massaad.
   17           A.   "Kin."                                      17          Q.    And when you say "the work
   18           Q.   And you've known my name for                18   regarding Khater Massaad," did that include
   19   many years, haven't you?                                 19   anything having to do with Farhad Azima?
   20           A.   That's correct.                             20          A.    The name of Farhad Azima came up
   21           Q.   And you know my client Farhad               21   throughout all the years the investigation
   22   Azima's name; right?                                     22   was being carried out, in a number of
   23           A.   I've heard of him. Yes.                     23   transactions which were suspected of
   24           Q.   And you've known that name for              24   being illegal that we investigated.
   25   many years too; right?                                   25   But the client or the representatives
                        JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                          30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC


                                                            14                                                            16


    1           A.   Yes.                                         1   of the client, especially at the beginning
    2           Q.   And when do you think you first              2   of the investigation, said that Farhad
    3   heard the name Farhad Azima?                              3   Azima served as a mediator or a go-between
    4           A.   So at the start of the investigation         4   between them and Khater Massaad. And
    5   of Gadot Israel, which is also known as                   5   that's why neither we nor the client were
    6   Gadot Information Services, we learned that               6   asked to investigate Farhad Azima -- were
    7   the subject of the investigation was a man                7   asked not to investigate Farhad Azima.
    8   named Dr. Khater Massaad. Khater Massaad                  8          Q.    What's the business of SDC-Gadot
    9   was referred to your firm by your client                  9   LLC?
   10   Farhad Azima.                                            10          A.    In Gadot SDC, as well as in Insight,
   11           Q.   And do you recall what year you             11   there's no business activity other than to
   12   learned that name -- the name of Farhad                  12   serve as a conduit to transfer money to Gadot
   13   Azima?                                                   13   Israel.
   14           A.   Because I reviewed some of the              14                And the issue or the matter was
   15   material in preparation for today, I --                  15   because Stuart Page, according to him, received
   16   I would say it was in March 2015, early                  16   the money directly in a bank account in Dubai
   17   2015.                                                    17   from the ruler Ras Al Khaimah -- RAK.
   18           Q.   And in conjunction with your                18                THE INTERPRETER: I'm sorry?
   19   investigation of Farhad Azima, was the                   19                THE WITNESS: (Comment in Hebrew.)
   20   name Project Beech used?                                 20                THE COURT REPORTER: It's here.
   21                MR. BARET: Objection. Form.                 21   It's here.
   22                THE WITNESS: I have never                   22                THE INTERPRETER: RAK. Okay.
   23   investigated Farhad Azima. The                           23   Yeah. Okay.
   24   investigation was of Dr. Khater Massaad.                 24                THE WITNESS: "The head of the
   25   //                                                       25   tent." This is what -- the meaning.
                        JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                          30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC
                                                         17                                                          19
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 5 of 52
    1                THE INTERPRETER: "The head of             1   and from investigations. For example,
    2   the tent"?                                             2   by participating in chat rooms and
    3                THE WITNESS: Ras Al Khaimah               3   investigations of pretext and --
    4   is the "head of the tent."                             4   pretext and monitoring, all this data
    5                THE INTERPRETER: Okay.                    5   that is collected is analyzed by analysts.
    6                THE WITNESS: And in order to              6        Q.    And by "pretext," do you mean
    7   transfer the money to us, he had to transfer           7   misrepresentations by individuals about
    8   it first to Hong Kong and then to transfer             8   who they are to get information?
    9   it to Israel. In the early years, we                   9              Correct?
   10   experienced very serious problems in the              10        A.    So every -- so as far as I'm
   11   transfer of the money. And, consequently,             11   concerned, pretext -- every -- every case
   12   Stuart asked or -- either Stuart or his               12   should be judged separately. But it could
   13   person in charge of finance to simplify               13   involve hanging out in a bar and overhearing
   14   and streamline it by opening companies                14   a conversation or talking to someone.
   15   in the United States.                                 15              Anything -- I consider anything
   16   BY MR. BEHRE:                                         16   where you don't introduce yourself and say
   17        Q.      And what was or is the business          17   I am so-and-so and I am investigating is
   18   of Gadot here in Israel?                              18   what I would consider pretext.
   19        A.      Are you referring to the Israeli         19        Q.    And you also used the term
   20   company Gadot Israel or the Florida company?          20   "monitoring."
   21        Q.      The Israeli company, which I             21              What is it you're monitoring?
   22   understand you're now saying was using                22        A.    (Comment in Hebrew.)
   23   the U.S. entity to transmit funds.                    23              THE INTERPRETER: "Surveillance"?
   24        A.      Gadot Israel is a firm for crisis        24              THE WITNESS: "Surveillance."
   25   management that uses the collection of                25              THE INTERPRETER: Okay.
                        JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                          30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC


                                                         18                                                          20


    1   data, data analysis, and recommendations               1              THE WITNESS: (Comment in Hebrew.)
    2   for actions to be taken by their customers.            2              THE INTERPRETER: The word should
    3        Q.      And in your role with Gadot, has          3   have been "surveillance."
    4   Gadot ever had in its possession stolen                4   BY MR. BEHRE:
    5   data, including stolen e-mails?                        5        Q.    And "surveillance," you mean
    6        A.      The answer to that question is            6   human --
    7   a little bit problematic. Because the                  7              THE INTERPRETER: Physical
    8   analysts of Gadot sometimes use information            8   surveillance -- I'm sorry -- he -- he --
    9   that has been leaked to various websites               9   he explained.
   10   such as WikiLeaks. Sometimes e-mails                  10              He said: "Physical surveillance."
   11   that were stolen have been published.                 11              MR. BEHRE: Okay. Thank you.
   12                So to say that we don't use              12              THE INTERPRETER: Actually
   13   stolen e-mails in our data collection                 13   surveilling someone.
   14   or as part of our data collection, that               14   BY MR. BEHRE:
   15   would not be accurate. But I can say --               15        Q.    Following someone without them
   16   but I can say that Gadot Israel does                  16   knowing it, is that an example of surveillance?
   17   not steal data and does not do anything               17        A.    Yes. That's an example.
   18   criminal in its activities involving --               18        Q.    So just to jump back, you said
   19   in its work here in Israel.                           19   you looked at some bank statements; is that
   20        Q.      When you mentioned analysts              20   correct?
   21   at Gadot, what specifically is the role               21        A.    My own.
   22   that analysts play in the company?                    22        Q.    Okay. And by your own, which
   23        A.      In many cases, we get from               23   company are you talking about?
   24   customers too and from open sources --                24        A.    Gadot SDC and Insight.
   25   also from collecting from open sources                25        Q.    And which banks are those?
                        JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                          30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC
                                                            21                                                          23
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 6 of 52
    1           A.   Insight in Bank of America and               1             Throughout the entire investigation,
    2   Gadot at Citibank.                                        2   we would call the ruler "the boss." That
    3           Q.   Okay. And in addition, you                   3   was his nickname. But my actual customer
    4   mentioned reviewing invoices in preparation               4   was Stuart Page.
    5   for your testimony.                                       5        Q.   Okay. And you said that the
    6                Who are those invoices to and from?          6   customer dictated the policy of not
    7           A.   The invoices from Insight and from           7   preserving documents; correct?
    8   Gadot in the U.S. to Stuart Page in the Beech             8        A.   That's what Stuart Page told
    9   case.                                                     9   me. I never met the boss.
   10           Q.   And could you spell "Beech," please,        10        Q.   And, again, by "boss," you mean
   11   for the record?                                          11   the ruler; right?
   12           A.   Sometimes we got it wrong. But I            12        A.   Yes.
   13   think it's B-e-e-c-h.                                    13        Q.   And what were the documents that
   14           Q.   (Not translated.) So the intent             14   were created but were not retained?
   15   is "beach" like the ocean and not "beech"                15        A.   Approximately every month, but
   16   like the tree?                                           16   not always, and based on the findings of
   17           A.   (In English.) No.                           17   the investigation, we would produce a report.
   18                (Translated.) It was Stuart Page            18             The report had an executive summary
   19   who chose the name.                                      19   at the beginning. And this was followed by a
   20                (Last question translated.)                 20   breakdown of the findings of the investigation.
   21                THE WITNESS: I think his initial            21   And we would send these reports using the
   22   intention was to the tree. But we might                  22   method that Stuart described quite accurately
   23   have got the spelling wrong.                             23   in his affidavit to Stuart.
   24   BY MR. BEHRE:                                            24             Stuart always asked, from the
   25           Q.   In addition to the bank statements          25   beginning, that we leave the report in
                        JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                          30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC


                                                            22                                                          24


    1   and the invoices, what else did you review                1   an open format for two reasons. The first
    2   to prepare for your testimony?                            2   one was that he said that our English was
    3           A.   I spoke to my attorneys about                3   beneath contempt. And he would also add
    4   the legal proceedings we've been involved                 4   sections to the report involving investigations
    5   in until now.                                             5   that he did that had nothing to do with us.
    6           Q.   Yeah. I'm just asking you about              6        Q.   Did you draft or write any portion
    7   documents now, not -- not discussions.                    7   of those reports?
    8           A.   In this case, there was a security           8        A.   The report was prepared by the
    9   protocol that was dictated by the customer                9   staff of analysts. I would review the
   10   not to preserve any documentation in the                 10   report before it was sent out, sometimes
   11   case.                                                    11   make corrections or changes.
   12           Q.   And who was the customer?                   12        Q.   And when you say the "staff of
   13           A.   RAK.                                        13   analysts," who were those people specifically?
   14           Q.   And was Stuart Page a customer?             14        A.   This was a staff of people who
   15           A.   Stuart Page asked to meet me --             15   worked for Gadot. And for reasons of
   16   I think it was March 2015.                               16   privacy, I will not state their names.
   17                And he told me that the ruler               17        Q.   And what are the reasons of
   18   wanted him to -- wanted to investigate                   18   privacy that you can't disclose the
   19   the illegal activities of Khater Massaad.                19   employees of your company?
   20   And according to what Stuart told me, his                20        A.   First and foremost, this
   21   work was directly vis-a-vis the ruler. And               21   investigation relates to Gadot U.S.A.
   22   the payment he received, according to what               22   and to Insight. And these employees
   23   Stuart said, was also -- also came directly              23   are not employees of Gadot or Insight.
   24   from the account of the ruler rather than                24             And, secondly, some of them
   25   some company.                                            25   have security clearances here in Israel.
                        JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                          30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC
                                                        25                                                          27
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 7 of 52
    1   Some of them came from the various security           1   BY MR. BEHRE:
    2   systems, Israeli security systems.                    2           Q.   So in addition to the bank
    3        Q.    Well, as I understand your                 3   statements, the invoices, did you look
    4   testimony, the payments that were made                4   at anything else to prepare for today?
    5   to SDC-Gadot were payments for the work               5           A.   No.
    6   of Gadot here in Israel; correct?                     6           Q.   Well, you indicated before we
    7        A.    Correct.                                   7   started that you had documents in front
    8        Q.    And, therefore, the work of                8   of you -- correct? -- that included Stuart
    9   SDC-Gadot directly relates to Gadot?                  9   Page's declaration or declarations?
   10        A.    Yes.                                      10           A.   Yes. These are Stuart Page's
   11        Q.    So I'm asking you for the names           11   declarations. And these are lists which
   12   of the employees who prepared the report --          12   I made for myself to assist myself in
   13   or reports I should say.                             13   reconstructing the proceedings that we've
   14        A.    I understood your question. But           14   been through so far.
   15   I will not answer that question.                     15           Q.   (Not translated.) Could you
   16        Q.    Okay. Well, that's not a -- it --         16   tell us what statements you have in front
   17   it's not a valid reason not to answer.               17   of you by date --
   18              MR. BEHRE: And if you want to             18                THE INTERPRETER: Statements?
   19   interject anything -- I mean, we can --              19   BY MR. BEHRE:
   20              MR. BARET: Well --                        20           Q.   (Not translated.) -- and title?
   21              MR. BEHRE: -- go to the Court.            21                THE INTERPRETER: Statements?
   22   But --                                               22                MR. BEHRE: Witness statements.
   23              MR. BARET: Well, I -- I disagree          23   Affidavits.
   24   with your analysis, with all due respect.            24                (Pending question translated.)
   25   I don't think Gadot --                               25                THE WITNESS: I have Stuart's
                      JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                        30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC


                                                        26                                                          28


    1              THE INTERPRETER: (Comment in               1   affidavit from the 7th of January, 2022.
    2   Hebrew.)                                              2   And an additional one by Stuart from the
    3              MR. BARET: Gadot SDC did not               3   7th of February.
    4   have any employees. And Gadot -- and the              4                I also -- I also had the affidavit
    5   subject of this deposition is for Gadot SDC,          5   of Majdi Halabi. But I don't seem to find
    6   not for Gadot Israel. So he -- he decided             6   it here. I probably left it in my office.
    7   not to answer. And you can -- you can make            7   BY MR. BEHRE:
    8   a note of that.                                       8           Q.   So in front of you you have two
    9              MR. BEHRE: Are you instructing             9   affidavits of Stuart Page; right?
   10   him not to answer?                                   10           A.   Yes.
   11              MR. BARET: I'm not instructing            11           Q.   And you also have some handwritten
   12   him anything. He made a decision. And                12   notes you made; correct?
   13   I'm not instructing him to answer. [sic]             13           A.   Correct.
   14              MR. BEHRE: Okay.                          14           Q.   And those are one page or more?
   15              MR. BARET: You didn't hear me --          15           A.   More. Eleven.
   16              MR. BEHRE: In addition --                 16           Q.   And in addition to the things
   17              MR. BARET: I'm sorry. You didn't          17   we've just discussed, is there anything
   18   hear me instructing him not to answer; right?        18   else document-wise you looked at to
   19   Just so we're clear. I'm not instructing             19   prepare for your testimony?
   20   him not to answer.                                   20           A.   No.
   21              MR. BEHRE: But you're not                 21           Q.   Have you ever reviewed any of
   22   instructing him to answer?                           22   the pleadings in Farhad Azima's U -- U.K.
   23              MR. BARET: He's -- he's a                 23   case?
   24   grown man. If he doesn't want to answer,             24           A.   (Translated.) Not -- not in
   25   that's his choice.                                   25   the last few days. But I am familiar
                      JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                        30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC
                                                        29                                                        31
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 8 of 52
    1   with these proceedings, with this claim               1        A.     In my opinion, I haven't spoken
    2   or this action that Farhad Azima is                   2   to her in about two years.
    3   conducting versus Nick Del Rosso --                   3        Q.     And when's the last time you
    4               (In English.) NDR.                        4   communicated with her, again, text, e-mail,
    5               (Translated.) -- NDR.                     5   or messaging app?
    6        Q.     And so you've looked at -- at             6        A.     The same answer.
    7   pleadings involving the Azima versus Del              7        Q.     What about Neil Gerard, did you
    8   Rosso case in the United States?                      8   talk to him in preparation for your testimony
    9        A.     Yes. I've been through the                9   here today?
   10   pleadings. And many times journalists                10        A.     In my view, the last time I spoke
   11   from Reuters approached me. And I think              11   to Neil Gerard was in that meeting that
   12   that I'm pretty well familiar with these             12   I described in -- which took place in
   13   proceedings.                                         13   Switzerland.
   14        Q.     And when Reuters approached you,         14        Q.     And when's the last time you
   15   did you speak with them?                             15   communicated with Neil Gerard? And I
   16        A.     Yes.                                     16   can keep repeating it. But text? E-mail?
   17        Q.     And what was the name of the             17        A.     First of all, throughout the --
   18   reporter?                                            18   all the -- all these years, I did not have
   19        A.     Raphael Satter.                          19   a direct connection or direct communication
   20               MR. BEHRE: I think that's                20   with Neil Gerard.
   21   Satter, S-a-t-t-e-r.                                 21               My opinion -- my evaluation is
   22               THE INTERPRETER: Satter?                 22   that, ever since the first trial that took
   23               MR. BEHRE: Satter. Yeah.                 23   place between Farhad Azima and the client
   24               THE INTERPRETER: Satter.                 24   in London, I did not speak to him, I did
   25               THE WITNESS: It's like Beech             25   not meet him, I did not correspond with him.
                          JULY 20, 2022 - AMIT FORLIT                            JULY 20, 2022 - AMIT FORLIT
                            30(B)(6) SDC-GADOT LLC                                 30(B)(6) SDC-GADOT LLC


                                                        30                                                        32


    1   is both a tree and a seashore.                        1        Q.     But there was a time you met with
    2   BY MR. BEHRE:                                         2   Neil Gerard at Dechert's offices in London;
    3        Q.     In preparation for your testimony         3   right?
    4   here today, have you spoken to anyone to              4        A.     All along the time that this
    5   gain information about which you can                  5   procedure is being run, I believe I've
    6   testify?                                              6   been in Dechert's office once or twice
    7        A.     No.                                       7   in London. It can be checked in the
    8        Q.     Have you spoken to Stuart Page            8   log-in of Dechert, because it's been
    9   about your testimony here today?                      9   verified.
   10        A.     No.                                      10               Beyond my meetings with Neil
   11        Q.     When's the last time you spoke           11   at Dechert, I believe that, in the last
   12   with Stuart Page?                                    12   four or five years of conducting this
   13        A.     I estimate that it's been about          13   case, I met Neil perhaps another ten
   14   seven, eight months since we last spoke.             14   times. I have never met Neil without
   15        Q.     When did you last communicate            15   Stuart's presence. And that's it as
   16   with him?                                            16   far as Neil is concerned.
   17               And by that, I mean text or              17        Q.     Now, you indicated the Dechert
   18   e-mail or messaging app.                             18   log-in system for visitors, it's been
   19        A.     I can check that and provide             19   verified.
   20   an accurate reply.                                   20               What did you mean by that?
   21        Q.     Just a rough estimate?                   21        A.     When you come to visit their
   22        A.     Seven, eight months.                     22   offices -- when you come to visit their
   23        Q.     Okay. What about his assistant           23   offices, you have to present some document
   24   Caroline Timberlake, when's the last time            24   of identification. And then they issue for
   25   you spoke with her?                                  25   you a magnetic card, which you use throughout
                          JULY 20, 2022 - AMIT FORLIT                            JULY 20, 2022 - AMIT FORLIT
                            30(B)(6) SDC-GADOT LLC                                 30(B)(6) SDC-GADOT LLC
                                                         33                                                         35
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 9 of 52
    1   your visit to open the doors, to open the              1          A.   In all my 55 years of existence,
    2   elevator -- I don't remember.                          2   I have never spoken to the ruler nor met
    3        Q.      And you've also visited with Neil         3   him.
    4   Gerard at your apartment at the Metropolitan           4          Q.   Have you ever communicated with
    5   Hotel in London too; correct?                          5   him in text, e-mail, or messaging?
    6        A.      (Translated.) Once or twice,              6          A.   Never. Never.
    7   a few times -- I don't remember exactly --             7          Q.   How about Amir Handjani, did you
    8   Neil came to meetings which were held in               8   talk to him to prepare for your testimony?
    9   the apartment. But these meetings as well              9          A.   Same answer as for the ruler.
   10   were attended by Stuart Page.                         10               In all my 55 years of existence,
   11                And this -- and this apartment           11   I never met him. I never spoke to him.
   12   is a room in a hotel. It's not as if I                12   I never communicated. I don't know him.
   13   have an apartment there.                              13          Q.   And did you attend the trial
   14                (In English.) I wish I had.              14   of Farhad Azima in London in 2019?
   15        Q.      It would be a very expensive             15          A.   No.
   16   apartment.                                            16          Q.   Were you in London at the time?
   17        A.      (In English.) Also to rent.              17          A.   I don't recall. I can check
   18        Q.      Yeah. And, finally, have you             18   that. I don't think so.
   19   ever visited Gerard at his home?                      19          Q.   Did you meet with any of the
   20        A.      Never.                                   20   parties on behalf of RAK who were at that
   21        Q.      Now, what about Jamie Buchanan,          21   trial at the time they were in that trial?
   22   did you speak with him about your testimony           22          A.   I don't think so. I don't think
   23   here today?                                           23   so.
   24        A.      No.                                      24               I believe I did meet with Stuart,
   25        Q.      When's the last time you spoke           25   because I had a very close contact with --
                           JULY 20, 2022 - AMIT FORLIT                               JULY 20, 2022 - AMIT FORLIT
                             30(B)(6) SDC-GADOT LLC                                    30(B)(6) SDC-GADOT LLC


                                                         34                                                         36


    1   with him?                                              1   very close connection with Stuart. I don't
    2        A.      I estimate something like                 2   think it was at the time of the proceedings.
    3   ten months. That's my estimate. Even                   3               I -- I have something to add.
    4   before I became aware that there's some                4               I went over a few more documents
    5   proceedings here against me.                           5   in preparation to this testimony, which I
    6        Q.      And when's the last time you              6   forgot to mention before. I took out from
    7   communicated with him?                                 7   the Ministry of Interior all the dates of
    8        A.      After I learned about the                 8   my exits and entries into the country in
    9   testimony that Stuart gave, I -- I                     9   order to refresh my memory as to these
   10   communicated with him not directly,                   10   visits or trips.
   11   but via his attorney.                                 11          Q.   Exits and entries from which
   12        Q.      And who is his attorney?                 12   country?
   13        A.      A woman -- a woman by the                13          A.   Only from Israel. Because I
   14   name of Sue or something like that,                   14   possess an Israeli passport. That's
   15   in England, in --                                     15   the only -- the only thing that could
   16        Q.      In --                                    16   be checked.
   17        A.      -- the U.K.                              17          Q.   And why did you look at that
   18                THE INTERPRETER: "A women                18   information to prepare?
   19   by the name of Sue or something like                  19          A.   Because, when I read the affidavit
   20   that in the U.K."                                     20   by Majdi Halabi, I did not remember some of
   21   BY MR. BEHRE:                                         21   the meetings that he described as me being
   22        Q.      What about the ruler, when's             22   in attendance. So I wanted to check whether
   23   the last time you spoke with him?                     23   at all I had been present in the places as
   24                And did you talk to him to               24   he was describing it.
   25   prepare for your testimony today?                     25          Q.   And did you receive a printout
                           JULY 20, 2022 - AMIT FORLIT                               JULY 20, 2022 - AMIT FORLIT
                             30(B)(6) SDC-GADOT LLC                                    30(B)(6) SDC-GADOT LLC
                                                         37                                                          39
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 10 of 52
     1   from the Israeli Ministry about your travel?          1           A.   It was a telephone conversation.
     2        A.     Yes. Every citizen can do that.           2   And I believe it was close to the date
     3        Q.     And do you have a copy of that            3   that he had submitted his affidavit. And
     4   with you today?                                       4   since then, I had no communication with
     5        A.     I have it in the mail. I can              5   him whatsoever.
     6   have it printed if you want.                          6           Q.   (Partially translated.) Okay.
     7        Q.     Okay. We'd appreciate that.               7   How about the U.K. lawyer, Lucy Ward, did
     8        A.     My attorney will provide you              8   you speak with her before you testified
     9   that in reference to the specific dates.              9   here today?
    10        Q.     (Not translated.) Now, going             10                THE COURT REPORTER: "Lucy."
    11   back to the people you might have spoken             11                THE INTERPRETER: What's her
    12   with to prepare for your testimony, did              12   name? Lucy Ward. Lucy Ward.
    13   you -- did you speak with anyone from                13                (Remainder of pending question
    14   Karv Communications, such as Andrew                  14           translated.)
    15   Frank, before you --                                 15                THE WITNESS: I don't know this
    16               THE INTERPRETER: From Karv?              16   lady. And I've never spoken to her.
    17   BY MR. BEHRE:                                        17   BY MR. BEHRE:
    18        Q.     (Not translated.) -- testified           18           Q.   Have you ever communicated with
    19   here today?                                          19   her in any other way?
    20               THE INTERPRETER: Karv -- Karv            20           A.   No.
    21   Communications?                                      21           Q.   How about Nicholas Del Rosso,
    22               MR. BEHRE: Karv, K-a-r-v.                22   did you speak with him before you
    23               THE INTERPRETER: Okay.                   23   testified here today?
    24               (Pending question translated.)           24           A.   Same answer.
    25               THE WITNESS: Just like my                25                In all my 55 years of existence,
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC


                                                         38                                                          40


     1   previous answer, I have never met him.                1   never met, never heard, never spoken, don't
     2   I don't know him. I have never communicated           2   know.
     3   with him.                                             3           Q.   But you've certainly heard of him;
     4   BY MR. BEHRE:                                         4   right?
     5        Q.     And how about David Hughes?               5           A.   Yes.
     6        A.     I have met David Hughes when he           6                Now, seriously, in the beginning
     7   was working at Dechert. And I believe that            7   of the investigation, I learned that Nick
     8   the last time I met him was in that meeting           8   Del Rosso was recruited and he's working
     9   in Cyprus, which is described in Stuart's             9   on the case in parallel to us but on
    10   affidavit. I have never communicated with            10   different -- other issues.
    11   him directly, neither before nor after, and          11                I remember that Stuart Page
    12   not indirectly either.                               12   was deeply offended that Nick Del Rosso
    13        Q.     Okay. And how about Majdi Halabi?        13   is being employed. And he was told that
    14        A.     The last time I spoke to Majdi           14   Nick's employment had been suspended.
    15   Halabi was after he submitted his affidavit.         15                And the next time we encountered
    16               After I have learned about his           16   the name of Nick Del Rosso, we were told
    17   affidavit from the Reuters reporter, I               17   that he was making the connection between
    18   called him. And he refuted, he denied                18   a company that was studying the materials
    19   that he had provided such an affidavit.              19   leaked from Farhad Azima and the customer,
    20   And when I saw -- when I saw it, I -- I              20   the client.
    21   cut my connections with him. And since               21                THE COURT REPORTER: "And" or
    22   then, I have not spoken to him.                      22   "in"?
    23        Q.     When's the last time you                 23                THE INTERPRETER: "And the client."
    24   communicated with him by text, e-mail,               24   BY MR. BEHRE:
    25   or messaging service?                                25           Q.   The connection between a company
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC
                                                         41                                                        43
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 11 of 52
     1   that was?                                             1        Q.   You -- you received -- or I should
     2        A.     He made a connection to a company         2   say S -- SDC-Gadot received a subpoena for
     3   that was analyzing materials, the materials           3   documents; correct?
     4   that had been leaked from Farhad Azima.               4        A.   After a long time after servicing
     5        Q.     And what was the name of that             5   the documents to somebody in Florida, I
     6   company?                                              6   learned that they had been requested to
     7        A.     I -- I don't remember. Once               7   provide documents.
     8   again, all my information comes from                  8             MR. BEHRE: After servicing the
     9   Stuart.                                               9   documents to somebody in Florida?
    10        Q.     What about an investigator by            10             THE INTERPRETER: After -- after
    11   the name of Craig Thomas, did you speak              11   the servicing -- serving the -- the -- the
    12   with him to prepare for your testimony               12   subpoena, I imagine. Serving, not servicing.
    13   here today?                                          13   Serving. Serving. Sorry. Sorry. Serving.
    14        A.     I don't even have the faintest           14             MR. BEHRE: Okay. Let me just
    15   clue who this person is. Until now, I                15   ask the question again.
    16   recognize the names. But this one ...                16             THE INTERPRETER: Okay.
    17        Q.     What about Patrick Grayson?              17   BY MR. BEHRE:
    18        A.     I heard about him. Never spoken          18        Q.   Do you recall receiving a subpoena
    19   to him, never met him, never communicated            19   for documents from SDC-Gadot in conjunction
    20   with him.                                            20   with the Florida case?
    21        Q.     Was he involved in Project Beech,        21        A.   Yes.
    22   if you know?                                         22        Q.   And are you aware that, in response
    23        A.     No. Not to my knowledge.                 23   to that, no documents were produced?
    24        Q.     Did you speak with Paul Robinson         24        A.   I am aware that my bank said --
    25   to prepare for your testimony here today?            25   did send them the documents -- my documents
                           JULY 20, 2022 - AMIT FORLIT                             JULY 20, 2022 - AMIT FORLIT
                             30(B)(6) SDC-GADOT LLC                                  30(B)(6) SDC-GADOT LLC


                                                         42                                                        44


     1        A.     I heard about Paul Robinson from          1   that he was requested -- that the bank was
     2   Stuart Page, even in the course of the                2   requested to submit. And immediately after
     3   meetings held by Stuart Page with Robinson.           3   learning about the subpoena, I recruited
     4   But I don't know him. I haven't spoken                4   the services of my attorney here in order
     5   to him. And that's it.                                5   to defend myself in respect to the substance
     6        Q.     In preparation for your testimony         6   of the subpoena. And only recently did I
     7   here today, have you spoken to anyone else            7   determine what I am supposed to produce and
     8   affiliated with Dechert, the law firm?                8   what I'm -- I'm not.
     9        A.     No.                                       9        Q.   But you would agree that, in
    10        Q.     (Not translated.) And how about          10   preparation for your testimony here today,
    11   anyone from Stewarts Law, the law firm in            11   you reviewed documents that would be required
    12   the U.K. that represents RAK?                        12   to be produced under that subpoena; correct?
    13        A.     "Lo."                                    13        A.   Okay. In the first subpoena,
    14               (Pending question translated.)           14   they required documents connected to the
    15               THE WITNESS: No.                         15   American companies and to the connection
    16               MR. BEHRE: RAK is all -- all             16   to -- the connection to Stuart Page in
    17   caps, R-A-K.                                         17   the connection of the investigation of
    18               THE WITNESS: (Comment in Hebrew.)        18   Farhad Azima. And since there was no
    19               THE INTERPRETER: No. No.                 19   investigation against Farhad Azima, or
    20               THE COURT REPORTER: He wants to          20   of Farhad Azima, my initial interpreting
    21   smoke an electronic cigarette.                       21   was that I have no documents to submit,
    22   BY MR. BEHRE:                                        22   since I did not investigate Farhad Azima.
    23        Q.     It's not good for your health.           23             But pretty soon, they started to
    24   We're not going to do that here.                     24   submit more and more requests to the Court,
    25        A.     No, this is good for my health.          25   which go well beyond the initial request.
                           JULY 20, 2022 - AMIT FORLIT                             JULY 20, 2022 - AMIT FORLIT
                             30(B)(6) SDC-GADOT LLC                                  30(B)(6) SDC-GADOT LLC
                                                           45                                                         47
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 12 of 52
     1               So to the best of my understanding,         1   talking about the subpoena, not the
     2   we submitted an opposition, an objection                2   documents in response to the subpoena;
     3   to these requests. And, finally, the --                 3   right?
     4   the agreement was that in -- following                  4        A.      Yes. That's correct.
     5   the initial -- the first subpoena, I                    5        Q.      (Translated.) And if you
     6   would be deposed here in Israel.                        6   would look, please, at page -- page 8
     7               And, once again, I will say                 7   of 39. So if you look at the number
     8   that I have no connection. I have                       8   in the upper right-hand corner, page 8.
     9   never investigated Farhad Azima.                        9                (Not translated.) And just
    10               (Exhibit 1 marked.)                        10   directing your attention to paragraph
    11   BY MR. BEHRE:                                          11   21, it describes the scope of the
    12        Q.     I'd like to show you --                    12   subpoena as covering not just Farhad
    13               MR. BEHRE: Do you have a copy              13   Azima but also others, including
    14   for counsel?                                           14   Khater Massaad.
    15   BY MR. BEHRE:                                          15                Do you see that?
    16        Q.     I'd like to show you what we've            16        A.      Yes.
    17   marked as exhibit --                                   17        Q.      (Partially translated.) And
    18               MR. BEHRE: Do you have a binder            18   the documents that you've indicated you've
    19   clip or something? Do you have one? Thank              19   reviewed in preparation for your testimony
    20   you. Yeah.                                             20   included SDC-Gadot's bank records, as well
    21   BY MR. BEHRE:                                          21   as invoices; right?
    22        Q.     Showing you what's been marked --          22        A.      Yes.
    23   pre-marked as Exhibit No. 1. That's a copy             23        Q.      And those --
    24   of the subpoena that I believe was served              24                THE COURT REPORTER: Let her
    25   on SDC-Gadot LLC for documents.                        25   translate.
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC


                                                           46                                                         48


     1               Could you take a look at that               1   BY MR. BEHRE:
     2   and see if you've seen that before?                     2        Q.      And those would be responsive
     3        A.     (Examining.) I -- I don't                   3   to the subpoena, wouldn't they?
     4   remember.                                               4        A.      That's correct.
     5               But I do recall that, at some               5        Q.      And in addition, you indicated
     6   stage, the gentleman whose names -- whose               6   you reviewed other documents as well;
     7   name appears here -- I think it's Shimon                7   correct?
     8   Goldenberg [sic] -- is a person I don't                 8        A.      Bank statements.
     9   know personally, by the way -- he called                9        Q.      And what about -- what about
    10   and he said that he had received a lot                 10   the corporate records of SDC-Gadot, did
    11   of documents and that we should come and               11   you look at those before you testified?
    12   see them. He said he had been trying                   12        A.      No.
    13   to e-mail us the documents but that the                13        Q.      And by that, I'm referring to
    14   e-mail had bounced.                                    14   the -- the documentation you file with
    15               And when I corrected him --                15   the Florida Secretary of State every
    16   because he had written ".com" instead                  16   year or so.
    17   of ".co.il" -- the -- the documents                    17        A.      I did not review them.
    18   arrived.                                               18        Q.      And you would agree, wouldn't
    19               In actual fact, the first                  19   you, that they would be responsive to
    20   time I -- I received the documents                     20   this subpoena as well; right?
    21   was a long time after they had been                    21        A.      (Comment in Hebrew.)
    22   initially sent. I think my attorney                    22                MR. BARET: Just -- just for the
    23   related to this in one of his responses                23   record, you have those documents. You --
    24   to the Court.                                          24   you provided it to us. Would you like us
    25        Q.     And by "the documents," you're             25   to send it back to you? Because the only --
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC
                                                           49                                                           51
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 13 of 52
     1   other than some of these documents that you             1   very well.
     2   provided to us, there is no records, for                2   BY MR. BEHRE:
     3   the record.                                             3        Q.      Well, just because you assume
     4               MR. BEHRE: I don't -- I don't --            4   we have something doesn't mean you're
     5   I don't know if that's true or not.                     5   not obligated to produce them if they're
     6               MR. BARET: Oh. So I'm telling               6   in your possession.
     7   you he doesn't have any records. So nothing             7        A.      So I apologize. And I will
     8   was produced because -- nothing was produced            8   review, once again, what I have.
     9   because there are no records other than what            9                MR. BARET: I -- I don't think
    10   you already have.                                      10   bank records were requested in the subpoena.
    11               MR. BEHRE: Well --                         11                Can you please direct me where
    12               MR. BARET: But if you want                 12   you are requesting bank records?
    13   us to produce those records to you, even               13                MR. BEHRE: Well, I'm not
    14   though you have them, which is Sunday's                14   testifying, so no.
    15   (phonetic) record, we can do that.                     15                MR. BARET: No, so I'm just --
    16               MR. BEHRE: I don't know if                 16   for the record, the subpoena you -- you --
    17   they're the same as what I've got or                   17                MR. BEHRE: It's --
    18   not. He indicated he has bank records.                 18                MR. BARET: -- are showing --
    19   He indicated he has invoices.                          19                MR. BEHRE: -- all records regarding
    20               MR. BARET: Only what --                    20   the company, which would include bank records,
    21               MR. BEHRE: I don't see --                  21   tax records, for example.
    22               MR. BARET: -- was produced --              22   BY MR. BEHRE:
    23               MR. BEHRE: -- those.                       23        Q.      Do -- does SDC-Gadot file any
    24               MR. BARET: -- to us by you.                24   taxes in the U.S.?
    25               So the bank -- actually, you have          25        A.      It filed returns.
                        JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                          30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC


                                                           50                                                           52


     1   more bank records than what he does. Because            1        Q.      And where do they file those --
     2   you got the subpoena from the bank. And,                2   where does the company file those tax
     3   actually, some of the records we've got is              3   returns?
     4   from whatever you produced and received by              4        A.      I have to check. But I would
     5   issuing a subpoena to Bank of America and               5   guess it's in Florida.
     6   Citibank.                                               6        Q.      And those would be responsive
     7               THE WITNESS: (Comment in Hebrew.)           7   to this subpoena, wouldn't they?
     8               THE COURT REPORTER: Wait. Wait.             8        A.      I'm not sure. I just have --
     9   She has to translate the --                             9   I have to go back and check.
    10               THE INTERPRETER: I have to --              10        Q.      (Not translated.) And Ari Propis
    11               THE COURT REPORTER: -- last answer.        11   is the accountant for SDC-Gadot; is that
    12               THE INTERPRETER: I have to --              12   right?
    13               His answer was: "I'm not especially        13                THE INTERPRETER: R.E.?
    14   proficient in the procedural matters."                 14                MR. BEHRE: Ari, A-r-i. Propis.
    15               THE WITNESS: Our bank accounts             15                THE INTERPRETER: Propis.
    16   were closed in August or September of 2021.            16                MR. BEHRE: P-r-o-p-i-s.
    17   And we don't have access to the bank.                  17                THE WITNESS: No.
    18               So the subpoena -- the -- the              18   BY MR. BEHRE:
    19   subpoena that you're referring to is much              19        Q.      What is his role, if any, with
    20   more comprehensive than what we have because           20   regard to SDC-Gadot?
    21   we only kept documents in a sporadic fashion.          21        A.      Ari Propis has no position
    22               And regarding the invoices for             22   whatsoever in SDC-Gadot. He just liaised
    23   Stuart Page, I would assume -- I assume                23   for us and connected us so we could open
    24   that you have copies of them from Stuart               24   the bank account.
    25   Page, because he's cooperating with you                25        Q.      Who prepared the company's tax
                        JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                          30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC
                                                          53                                                         55
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 14 of 52
     1   returns?                                               1   You mean like opening a bank account?
     2           A.   There is an accountant. I'd               2        Q.     Any sorts of filings or forms
     3   have to ask the financial person. I                    3   or applications or anything submitted to
     4   don't remember his name.                               4   a bank.
     5           Q.   And who's the financial person            5        A.     So the only bank that we actually
     6   you'd have to ask that of?                             6   banked with in America was Citibank. We
     7           A.   Omri.                                     7   tried to work with Chase Manhattan. But
     8           Q.   Who's Omri?                               8   it didn't work out. So we may have filed
     9           A.   Omri Gur Lavie. He's our finance          9   some forms there at one point, but -- with
    10   person.                                               10   Chase Manhattan.
    11           Q.   And does SDC-Gadot pay taxes to          11        Q.     Chase Manhattan refused to open
    12   the U.S. Government as best you know?                 12   an account for you?
    13           A.   I -- I know that we filed returns        13        A.     No. They did open an account.
    14   and that all income and expenses were reported        14   I don't recall exactly why -- there was
    15   in the jurisdictions in which we had to do            15   some kind of limitations or something.
    16   so. Whether taxes were or were not paid,              16   But we just -- it wasn't convenient for
    17   I would have to check.                                17   us to work with them.
    18           Q.   (Not translated.) And who keeps          18        Q.     (Not translated.) Have you
    19   the business expenses for the company?                19   ever had any bank account frozen in
    20                THE INTERPRETER: What do you             20   the U.S.?
    21   mean by "keeps"? Records?                             21        A.     No.
    22                MR. BEHRE: Keeps the business            22        Q.     (Not translated.) Has any
    23   expense records.                                      23   U.S. Government body ever tried to
    24                THE INTERPRETER: Who records.            24   obtain information about your bank
    25   Okay.                                                 25   accounts, as best you know?
                            JULY 20, 2022 - AMIT FORLIT                               JULY 20, 2022 - AMIT FORLIT
                              30(B)(6) SDC-GADOT LLC                                    30(B)(6) SDC-GADOT LLC


                                                          54                                                         56


     1                (Pending question translated.)            1        A.     (In English.) No.
     2                THE WITNESS: The accountant.              2               (Translated.) No.
     3   BY MR. BEHRE:                                          3        Q.     (Not translated.) So in the --
     4           Q.   And the accountant is who?                4   in the document subpoena that you have
     5                Gur Lavie?                                5   in front of you, Exhibit No. 1, it asks
     6           A.   If you give me a few minutes --           6   in -- on page 9 of 39 -- so the numbering
     7   it's a U.S. CPA. He's a U.S. CPA that                  7   is in the upper right-hand corner.
     8   works from Israel. If you give me a few                8               Under 1.a, the -- it asks for
     9   minutes, I can check on my phone and --                9   all reports.
    10   and I'll get back to you with that.                   10               Do you see that?
    11           Q.   But it's not Mr. Gur Lavie? It's         11        A.     Yes.
    12   somebody else?                                        12        Q.     And are those the reports you
    13           A.   He's the financial director. But         13   referenced as having not been retained?
    14   he doesn't work vis-a-vis the authorities.            14        A.     No, we have no reports on Azima,
    15   There's an accountant, and that's his job.            15   because we didn't do any reports on Azima.
    16   I'm the one that authorizes all expenses.             16        Q.     So it is your testimony that there
    17           Q.   Are there any other documents            17   was no report that mentioned Farhad Azima?
    18   that are filed on behalf of SDC-Gadot                 18        A.     No. In my opinion, there were
    19   with any Government agency that you                   19   reports that mentioned Azima -- Farhad
    20   know of?                                              20   Azima, not as the subject of an investigation,
    21           A.   No.                                      21   but as someone whose name came up in the
    22           Q.   Are there any filings that               22   investigation. And as I said earlier, no
    23   SDC-Gadot makes with any banking authority            23   reports were preserved. So everything that
    24   that you know of in the U.S.?                         24   I'm saying now about this is from memory.
    25           A.   What do you mean by "documents"?         25        Q.     So is it your testimony that the
                            JULY 20, 2022 - AMIT FORLIT                               JULY 20, 2022 - AMIT FORLIT
                              30(B)(6) SDC-GADOT LLC                                    30(B)(6) SDC-GADOT LLC
                                                          57                                                         59
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 15 of 52
     1   reports that mentioned Azima didn't reflect            1              You can -- you can answer.
     2   any investigation by your company of Azima?            2              THE WITNESS: I don't want to
     3        A.     My company did not investigate             3   disclose the source.
     4   Farhad Azima. So my company investigated               4   BY MR. BEHRE:
     5   Dr. Khater Massaad.                                    5        Q.    (Not translated.) I appreciate
     6               In some of the transactions that           6   you don't want to. But this is a legal
     7   Khater Massaad was involved in, other people           7   proceeding. And you're required to disclose
     8   were involved, like members of the republican          8   it. And if it's -- if you refuse to do it,
     9   guard in -- Revolutionary Guard in Iran,               9   we'll have to go to the Court and seek the
    10   like other people that were involved in               10   Court's approval to require that disclosure.
    11   these transactions. And their names were              11   And that will require you to come back.
    12   mentioned. And Farhad Azima's name came               12        A.    There was a gentleman who presented
    13   up in some of the transactions.                       13   himself as a member of the PR staff of your
    14        Q.     (Not translated.) Did you ever            14   firm who told the story in a -- kind of a
    15   use any human intelligence resources to               15   friendly social context.
    16   obtain information about Farhad Azima?                16        Q.    And who was the person with the
    17        A.     We -- some of the sources                 17   PR firm?
    18   included human intelligence sources.                  18        A.    I don't recall his name.
    19   Some of the sources that involved human               19        Q.    And was the PR person at my firm
    20   intelligence mentioned the name Farhad                20   or someone that was hired by my firm?
    21   Azima in -- in the context of the                     21        A.    I don't recall.
    22   investigation into Khater Massaad.                    22        Q.    The -- the subpoena for documents
    23               The first source in this case             23   also asks you for an engagement letter
    24   told us that Farhad Azima brought Khater              24   relating to Mr. or -- Mr. Azima or the
    25   Massaad to your firm to represent him.                25   project.
                         JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC


                                                          58                                                         60


     1        Q.     And so your source was a source            1              Do you see that?
     2   close to Farhad Azima; correct?                        2        A.    We never had an engagement
     3        A.     It -- it would be more correct             3   letter with Stuart.
     4   to say he was close to your firm.                      4        Q.    (Not translated.) It's your
     5        Q.     And who was that source?                   5   testimony you've never had an engagement
     6        A.     I'm sorry. I can't divulge that.           6   letter with Stuart Page?
     7        Q.     And on what basis will you not             7        A.    To the best of my recollection,
     8   divulge that?                                          8   we did not have an engagement letter with
     9        A.     Based on privilege.                        9   Stuart.
    10               THE INTERPRETER: I don't know             10              (Comment in Hebrew.)
    11   if "privilege" is the right word to use.              11              THE COURT REPORTER: Ruchie.
    12   I think "privilege" is only attorney-client.          12              MR. BARET: Can we have a short
    13               "But based on privilege of the            13   break?
    14   source or maintaining the privacy of the              14              THE INTERPRETER: "When are we" --
    15   source."                                              15              MR. BARET: He needs a cigarette --
    16   BY MR. BEHRE:                                         16              THE INTERPRETER: "Are we going
    17        Q.     (Not translated.) Well, I don't --        17   to have a smoking break?"
    18   I don't think that's a valid basis. And               18              MR. BARET: -- and a bathroom
    19   I'd ask and instruct the witness to answer.           19   break.
    20               MR. BEHRE: Counsel?                       20              MR. BEHRE: We can have an
    21               MR. BARET: You can do whatever            21   e-cigarette break right now. That would
    22   you want.                                             22   be fine.
    23               THE WITNESS: "Ma"?                        23              MR. BARET: All right. So 15?
    24               MR. BARET: Do you want to                 24              THE INTERPRETER: Do we have to
    25   disclose the source?                                  25   keep working --
                         JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC
                                                             61                                                           63
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 16 of 52
     1                MR. BARET: 10?                               1                Do you see that?
     2                THE INTERPRETER: -- if we're not --          2        A.      Yes.
     3                MR. BARET: 10, 15 minutes, it's              3        Q.      And next is the annual report
     4   good?                                                     4   for SDC-Gadot filed on April 11th, 2020.
     5                MR. BEHRE: Yeah. Does he have                5                Do you see that?
     6   to go all the way downstairs? So probably.                6        A.      (In English.) Okay.
     7                THE WITNESS: No.                             7                (Translated.) Okay.
     8                MR. BARET: I don't know. Is                  8        Q.      And the next one is the annual
     9   there a balcony?                                          9   report for SDC-Gadot filed on February
    10                MR. BEHRE: We better go off the             10   3rd, 2021.
    11   record for that discussion.                              11                Do you see that?
    12                MR. BARET: Is there a --                    12        A.      Yes. They're pretty well --
    13                THE COURT REPORTER: One moment.             13        Q.      And then finally --
    14                MR. BEHRE: 10 minutes.                      14        A.      -- organized.
    15                THE COURT REPORTER: One moment.             15        Q.      (Not translated.) And then,
    16                THE VIDEOGRAPHER: Going off the             16   finally, do you see the annual report that
    17   record at 12:38.                                         17   was filed for SD -- SDC-Gadot on January
    18                (Recess from 12:38 p.m. to 1:00 p.m.        18   27th, 2022?
    19           Israel Daylight Time.)                           19                THE INTERPRETER: 27? January --
    20                THE VIDEOGRAPHER: Back on record            20                MR. BEHRE: Yes.
    21   at 1:00 o'clock.                                         21                THE INTERPRETER: -- 27?
    22                (Exhibit 2 marked.)                         22                MR. BEHRE: January 27, 2022.
    23   BY MR. BEHRE:                                            23                (Pending question translated.)
    24           Q.   I'd like to next show you what              24                THE WITNESS: Okay. Yes.
    25   we've marked as Exhibit No. 2 and see if                 25   //
                         JULY 20, 2022 - AMIT FORLIT                                      JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                           30(B)(6) SDC-GADOT LLC


                                                             62                                                           64


     1   you can identify what these are.                          1   BY MR. BEHRE:
     2                For the record, it's a collection            2        Q.      So this is the articles of
     3   of corporate records from the State of                    3   incorporation [sic] filed in 2017 and
     4   Florida regarding your company SDC-Gadot.                 4   the annual reports up to this year 2022;
     5           A.   (Examining.)                                 5   right?
     6           Q.   Have you had a chance to look at             6        A.      Okay.
     7   those documents?                                          7        Q.      Looking at the Articles of
     8           A.   Yes, now.                                    8   incorporation -- or of -- of Organization --
     9           Q.   And are they the corporate records           9   apologies -- which is the first page
    10   for STD -- SDC-Gadot LLC from the State of               10   of the exhibit, it indicates a mailing
    11   Florida?                                                 11   address in Miami, Florida.
    12           A.   It seems so. Yes.                           12                Do you see that?
    13           Q.   (Not translated.) And for the               13        A.      Yes.
    14   record, the first document is the Articles               14        Q.      And whose address is that?
    15   of Organization for SDC-Gadot, filed on                  15        A.      I imagine that this is the agent
    16   October 18th, 2017.                                      16   through which we set up the company, because
    17           A.   (In English.) Okay.                         17   we had to provide a -- an address, a local
    18           Q.   The next document contained in              18   address.
    19   this exhibit is the annual report filed                  19        Q.      And do you know who lives at the --
    20   on April 29, 2018.                                       20   this address?
    21                The next exhibit --                         21        A.      No.
    22           A.   (In English.) Okay.                         22        Q.      And if you look at the second
    23                (Translated.) Okay.                         23   page of this exhibit -- or I'm sorry --
    24           Q.   The next exhibit is the annual              24   the second page of this document, the
    25   report filed on January 21st, 2019.                      25   Articles of Organization for October 18,
                         JULY 20, 2022 - AMIT FORLIT                                      JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                           30(B)(6) SDC-GADOT LLC
                                                         65                                                         67
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 17 of 52
     1   2017, there's an electronic signature                 1   you electronically signed here, indicating
     2   affixed to it.                                        2   that you are the, quote, "Owner," end
     3              Do you see that?                           3   quote --
     4        A.    Aah, yes.                                  4         A.    (In English.) Okay. "Kin."
     5        Q.    And that electronic signature              5         Q.    -- of the company; correct?
     6   purports to be yours; correct?                        6         A.    Okay. Yes.
     7              MR. BARET: Here. (Indicating.)             7         Q.    And did all -- were all those
     8   The back of the page. It just says:                   8   documents filed electronically with the
     9              "Amit Forlit."                             9   State of Florida, as best you know?
    10              THE WITNESS: I'm looking for it.          10         A.    Yes.
    11              MR. BARET: The second page.               11         Q.    And did you authorize the
    12              THE WITNESS: (Comment in Hebrew.)         12   submission of all these documents on
    13              It's not a manual signature, not          13   behalf of SDC-Gadot LLC in Florida?
    14   a handwritten signature.                             14         A.    I assume I did.
    15   BY MR. BEHRE:                                        15         Q.    And it -- the -- the first
    16        Q.    Right.                                    16   page indicates -- that is, the Article
    17              It's an electronic signature.             17   [sic] of Organization indicates that
    18        A.    I don't recall. But it would              18   your registered agent in the State of
    19   seem so.                                             19   Florida is Shimon Goldberger; is that
    20        Q.    So do you -- do you see the page          20   correct?
    21   that I'm asking about? It's -- turn to the           21         A.    I assume it is.
    22   page that has the exhibit sticker on it.             22         Q.    Did you hire Mr. Goldberger
    23              MR. BARET: This one. (Indicating.)        23   and his company SRSL Management, Inc.,
    24   The -- the back of this page.                        24   to represent SDC-Gadot in Florida?
    25   //                                                   25         A.    I don't recall such a thing.
                         JULY 20, 2022 - AMIT FORLIT                              JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                   30(B)(6) SDC-GADOT LLC


                                                         66                                                         68


     1   BY MR. BEHRE:                                         1         Q.    Do you know who Mr. Goldberger
     2        Q.    And flip it over.                          2   is?
     3        A.    Aah. "Po."                                 3         A.    Only recently, when he made
     4        Q.    And it indicates that your                 4   contact with us in order to send us the
     5   electronic signature was affixed to                   5   subpoena, I have learned of his existence.
     6   this document; correct?                               6   To the best of my knowledge, we did not
     7        A.    Yes.                                       7   hire him and we did not pay him. We used
     8        Q.    And did you electronically                 8   his address when setting up the company.
     9   sign this document?                                   9         Q.    And when you signed electronically
    10        A.    I assume I did. I do not recall.          10   the Articles of Organization, it indicates
    11        Q.    Okay. And this document was filed         11   on the document you electronically signed
    12   electronically with the State of Florida;            12   that your registered agent was Shimon
    13   correct?                                             13   Goldberger. And he too affixed an
    14        A.    Correct.                                  14   electronic signature.
    15        Q.    Now, going to the first annual            15               Do you see that?
    16   report dated April 29, 2018.                         16         A.    I see it. But I simply do not
    17              Do you see that?                          17   remember.
    18        A.    Yes.                                      18         Q.    And looking at the annual report
    19        Q.    And it indicates on the signature         19   from April 29, 2018, the current principal
    20   line -- again, electronically signed -- that         20   place of business has changed. And now
    21   you signed as the CEO of the company.                21   it indicates an address in New York.
    22              Is that correct?                          22               Do you see that?
    23        A.    Yes.                                      23         A.    Yes.
    24        Q.    And if you go to the next one             24         Q.    And the address is West 210
    25   from January 21st, 2019, again -- again,             25   89th Street in New York City; correct?
                         JULY 20, 2022 - AMIT FORLIT                              JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                   30(B)(6) SDC-GADOT LLC
                                                         69                                                        71
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 18 of 52
     1        A.     Yes.                                      1   correct?
     2        Q.     And in -- in one place says               2        A.    These are not personal expenses.
     3   Apartment 1K. And in another place,                   3   These are company expenses.
     4   it says apartment K1.                                 4        Q.    (Not translated.) And so when
     5               Do you know which is correct?             5   you purchased a Porsche in Pennsylvania,
     6        A.     I believe it to be the same.              6   was that a business expense or a personal
     7        Q.     Who lives at that address?                7   expense?
     8        A.     A friend of mine.                         8              THE INTERPRETER: When you acquired
     9        Q.     What's your friend's name?                9   what? Sorry.
    10        A.     Elad Lev Ran.                            10              MR. BEHRE: Porsche.
    11        Q.     Could you spell the last name?           11              THE INTERPRETER: Porsche, the car?
    12        A.     L-e-v, dash, R-a-n.                      12              (Pending question translated.)
    13               THE INTERPRETER: No. "Revach."           13              THE WITNESS: I never bought a
    14   "Space."                                             14   Porsche in Pennsylvania.
    15               THE WITNESS: For -- simply for           15   BY MR. BEHRE:
    16   the purpose of receiving mail. Because,              16        Q.    Okay. We'll get to that.
    17   once again, I do not know what was the               17              What e-mail addresses were
    18   first address. So we changed the address             18   associated with SDC-Gadot, if any?
    19   so, when the bank would send documents,              19        A.    I believe "amit001@me.com."
    20   they would arrive.                                   20        Q.    And in addition, did you ever
    21   BY MR. BEHRE:                                        21   use "amit@gadot.com"?
    22        Q.     And, for example, where did the          22        A.    No. No. I used "amit@gadot.co"
    23   Citibank records get mailed to?                      23   [sic] not ".com."
    24        A.     As far as Citibank is concerned,         24        Q.    Did anyone else associated with
    25   mostly they would send a debit card. But             25   SDC-Gadot use a e-mail address that ended
                         JULY 20, 2022 - AMIT FORLIT                               JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                    30(B)(6) SDC-GADOT LLC


                                                         70                                                        72


     1   the rest of the documents was usually sent            1   with "@gadot.co"?
     2   via the application, the app.                         2        A.    I believe no.
     3        Q.     And did they send those -- did            3        Q.    Did you receive an e-mail from
     4   they send the debit cards to New York or              4   Mr. Goldberger, attempting to resign as
     5   to Miami?                                             5   your registered agent?
     6        A.     No. They sent it to Israel.               6        A.    Could be. I don't recall.
     7               I had a fraud event with my card.         7        Q.    Do you recall he threatened to
     8   So I canceled the card. And they sent me              8   resign?
     9   a new card, which they sent to Israel.                9        A.    I -- I remember he sent something
    10        Q.     And the fraud on the card was            10   that he was being pestered by all these
    11   for a debit card?                                    11   subpoenas that are being sent to him. And
    12        A.     Yes.                                     12   he -- he asked us to put a stop to it.
    13        Q.     Who actually used those debit            13              But since we did not receive them,
    14   cards during the life of this account at             14   we did not know what to answer.
    15   Citibank?                                            15              I understood belatedly that what
    16        A.     I did.                                   16   he had written was "com" instead of "co"
    17        Q.     Did anyone else use those cards?         17   and that's why we did not get these mails.
    18        A.     With the exception of the fraud          18        Q.    Now, during the course of this
    19   case --                                              19   litigation in Florida, you've submitted
    20        Q.     Yes.                                     20   two affidavits; is that correct?
    21        A.     -- nobody else.                          21        A.    I assume yes.
    22        Q.     So all the purchases, then, that         22        Q.    And one of those affidavits was
    23   would be indicated in the bank statements            23   signed by you on May 12th, 2022. And the
    24   for Citi that were made on the debit card            24   second was signed by you on June 1st, 2022.
    25   would have been your personal charges;               25              Do you recall that?
                         JULY 20, 2022 - AMIT FORLIT                               JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                    30(B)(6) SDC-GADOT LLC
                                                          73                                                         75
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 19 of 52
     1        A.    Yes.                                        1         Q.   Have you ever resided in the
     2              (Exhibit 3 marked.)                         2   United States?
     3   BY MR. BEHRE:                                          3         A.   No.
     4        Q.    I'd like to next show you what's            4         Q.   Have you ever purchased a
     5   been marked as Exhibit No. 3.                          5   vacation home in the United States?
     6              MR. BEHRE: Do we have a stapler             6         A.   No.
     7   by any chance?                                         7         Q.   Have you ever attempted to
     8              THE COURT REPORTER: Moshe, go off.          8   purchase a vacation home in the United
     9              THE VIDEOGRAPHER: Off the record            9   States?
    10   at 1:19.                                              10         A.   No.
    11              (Recess from 1:19 p.m. to 1:21 p.m.        11         Q.   Did you ever form an LLC to
    12        Israel Daylight Time.)                           12   purchase a vacation home in the United
    13              THE VIDEOGRAPHER: Back on the              13   States?
    14   record at 1:21.                                       14         A.   No. I bought once a caravan,
    15   BY MR. BEHRE:                                         15   an RV.
    16        Q.    So looking at Exhibit 3 -- and             16         Q.   Did you ever form an LLC with
    17   when I say Exhibit 3, I'm talking about               17   your wife in an effort to buy a vacation
    18   the sticker that says Exhibit 3. And,                 18   home somewhere in the United States?
    19   unfortunately, the document happens to                19         A.   (Translated.) I set up an LLC
    20   have typed on it "Exhibit 2," which is                20   with my wife in order to buy a caravan,
    21   from the court case. So apologies for                 21   not --
    22   that confusion.                                       22              (In English.) "RV."
    23              But this is Exhibit 3.                     23              (Translated.) -- not a vacation
    24        A.    (Examining.) Okay.                         24   home. An RV.
    25        Q.    Are those the two affidavits               25              (In English.) Recreational vehicle.
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC


                                                          74                                                         76


     1   that you submitted to the Court in Florida?            1         Q.   What was the last part? Sorry.
     2        A.    Yes.                                        2              THE INTERPRETER: "An RV."
     3        Q.    And were each of those affidavits           3              THE WITNESS: RV. Rec --
     4   filed electronically, as indicated in the              4              THE INTERPRETER: Recreational --
     5   top of the doc -- of each affidavit?                   5              THE WITNESS: Recreational --
     6        A.    I assume they did.                          6              THE INTERPRETER: -- vehicle.
     7        Q.    Directing your attention to the             7              THE WITNESS: -- vehicle.
     8   first affidavit that you signed on May the             8              THE INTERPRETER: An RV.
     9   12th, 2022 -- so it's the second page of               9   BY MR. BEHRE:
    10   the exhibit.                                          10         Q.   And when -- when was that?
    11        A.    Okay.                                      11         A.   I believe it was in 2012. And
    12        Q.    And it indicates in the second             12   then when we -- maybe 20 -- or maybe 2014.
    13   paragraph -- numbered paragraph:                      13              THE INTERPRETER: He adds.
    14              "I do not reside in the State              14              THE WITNESS: And when we divorced
    15   of Florida."                                          15   in 20 -- the end of 2017, beginning of
    16        A.    Correct.                                   16   2018, as part of the divorce arrangement,
    17        Q.    And it says:                               17   I transferred to her the ownership of the
    18              "I do not reside in the United             18   RV.
    19   States."                                              19   BY MR. BEHRE:
    20              Do you see that?                           20         Q.   And while you owned the RV, where
    21        A.    Yes.                                       21   was it stored when it was not being used?
    22        Q.    Have you ever resided in the               22         A.   It was in use about one month
    23   State of Florida?                                     23   or one month and a half per year. And
    24        A.    Only as a tourist. I never                 24   we would store it in the place that we
    25   resided there.                                        25   would be -- we would be arriving at.
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC
                                                              77                                                       79
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 20 of 52
     1           Q.   And what state was that?                      1   since the closure of the account about
     2           A.   I believe we visit -- visited                 2   a year and a half ago, maybe even a
     3   something like 30 states, like all over                    3   little before that -- sadly, since the
     4   the place.                                                 4   beginning of COVID -- I do not recall
     5           Q.   Was it ever stored in the State               5   any activity after that.
     6   of Florida?                                                6          Q.   When is the last time that
     7           A.   I don't believe so.                           7   SDC-Gadot conducted business?
     8           Q.   Where would --                                8          A.   I believe -- I believe before
     9           A.   Because we were more in -- on the             9   the summer of 2021. 2020 maybe.
    10   west.                                                     10          Q.   And what business was conducted
    11           Q.   And where -- from what state were            11   in 2020?
    12   the license plates obtained from?                         12          A.   I think collecting funds from
    13           A.   I don't -- I honestly don't remember.        13   somebody who was owing me money. But it
    14           Q.   In what state did you purchase the           14   was not an activity per se.
    15   RV?                                                       15          Q.   So you would agree receiving
    16           A.   New Jersey.                                  16   funds is conducting business; correct?
    17           Q.   Now, you indicate in the third               17          A.   It's a -- it's a business
    18   paragraph of this affidavit dated May 12,                 18   transaction of the account, not of the
    19   2022, that SDC-Gadot LLC:                                 19   company. The company did not carry out
    20                "Has not conducted business in               20   any -- any activity.
    21   the State of Florida."                                    21          Q.   Well, the statement says that
    22                Do you see that?                             22   the company "has not conducted any business
    23           A.   Yes.                                         23   in years," which clearly suggests that it
    24           Q.   Is that an accurate statement?               24   had conducted business at some point.
    25           A.   I believe it is.                             25               So what does it mean when you
                         JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC


                                                              78                                                       80


     1           Q.   And when you say you -- it --                 1   add to your statement "in years"?
     2   the company "has not conducted business                    2          A.   When I say "in years," we're
     3   in the State of Florida," what do you mean?                3   already talking about two years and more.
     4           A.   That we did not do any business               4   When COVID started, we practically stopped
     5   in the State of Florida. We -- we did not                  5   any operations, also in Gadot in Israel.
     6   carry out any investigation. And we did                    6   And my meaning is that there was no work
     7   not conduct any business activity.                         7   carried -- carried out. If there were
     8           Q.   Did you engage in any financial               8   some collecting of funds or debts, in
     9   transactions that involve the State of                     9   my opinion, this is not operations.
    10   Florida?                                                  10          Q.   Looking next at the second
    11           A.   Please define if -- what you mean            11   affidavit, which you executed on June
    12   by the "State of Florida."                                12   the 1st, 2022.
    13                Like, if somebody in Florida made            13               Do you have that in front of
    14   a payment to me, does this mean that it                   14   you?
    15   involves the State of Florida?                            15          A.   Yes.
    16           Q.   Did you give or receive any funds            16          Q.   You indicate, in paragraph 3,
    17   from an entity or person in the State of                  17   you had not been in the State of Florida
    18   Florida?                                                  18   since 2017; correct?
    19           A.   Possibly. I do not remember.                 19          A.   Correct.
    20           Q.   And you indicate, at the end                 20          Q.   And what were you doing in
    21   of paragraph 3, that SDC-Gadot:                           21   Florida in 2017?
    22                "Has not conducted any business              22          A.   I opened a bank account.
    23   in years."                                                23          Q.   And which bank account was that?
    24                Correct?                                     24          A.   The account in Citibank, which
    25           A.   Well, what I mean by that is,                25   is the bank account of SDC-Gadot.
                         JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC
                                                           81                                                       83
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 21 of 52
     1           Q.   And you came to Florida in 2017            1        Q.     Are you -- do you have a license
     2   solely for the purpose of opening that                  2   to be a private investigator?
     3   account or for some other reason?                       3        A.     There are two levels. I'm --
     4           A.   I came as a tourist. I visited             4   I have a private investigator's license.
     5   some friends. And then I took a flight                  5   And I have a license to run an -- an
     6   to D.C.                                                 6   investigating firm. I don't actually
     7           Q.   And what did you do when you               7   use them here in Israel.
     8   arrived in D.C.?                                        8               But I have those documents
     9           A.   I don't recall. I assume that              9   from the Justice Department or Ministry.
    10   I had business meetings.                               10   I don't think I've even renewed those
    11           Q.   During that trip in 2017, did             11   licenses.
    12   you meet with anyone from the Dechert law              12        Q.     (Not translated.) Has your
    13   firm?                                                  13   license ever been suspended or revoked
    14           A.   No. I didn't meet anyone in there.        14   by the Government of Israel?
    15   The only person I knew from Dechert was Neil.          15        A.     Yes. Yes. I don't even recall
    16   And I didn't meet him in the United States.            16   why they suspended it. But then they
    17           Q.   (Not translated.) Well, earlier           17   reinstated.
    18   you indicated you knew David Hughes as well,           18        Q.     And do you recall what year
    19   who was at Dechert; right?                             19   it was suspended?
    20           A.   David Hughes worked at Stewarts           20        A.     2005 or '6.
    21   Law before that, before I knew him.                    21        Q.     And did it relate to your
    22           Q.   Well, where did he work first,            22   involvement in smuggling someone out
    23   Dechert or Stewarts Law?                               23   of the State of Israel who was wanted
    24           A.   When I met him, he was working            24   by the Israeli Government?
    25   at Stewarts Law. And I was told that,                  25        A.     I was accused of that. There
                         JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC


                                                           82                                                       84


     1   previously, he had worked at Dechert.                   1   was a trial. I was not found -- I was
     2           Q.   (Not translated.) Okay. Now,               2   not convicted. And so my license was
     3   in paragraph 3 as well, you say the last                3   restored.
     4   time you were in the United States was 2019.            4        Q.     So that was the reason your
     5                What were you doing in the U.S.            5   license was suspended?
     6   in 2019?                                                6        A.     I think so. But I don't
     7           A.   I was on a trip in the Yosemite            7   recall exactly.
     8   National Park and went up to Canada. I                  8        Q.     Who was the person you were
     9   was with my partner.                                    9   accused of smuggling?
    10           Q.   You indicate, in paragraph 6,             10               MR. BARET: Excuse me. How
    11   that you are an investigator and you                   11   does that relate to SDC-Gadot Florida,
    12   were hired by Stuart Page to, quote:                   12   which is the purpose of this deposition?
    13                "Run intelligence gathering               13               MR. BEHRE: It's right in
    14   services."                                             14   his affidavit. He's claiming he's an
    15                End quote.                                15   investigator. And I'm probing about
    16                Do you see that?                          16   his license to be --
    17           A.   I'm looking -- looking for it.            17               MR. BARET: This is --
    18                Yes, I see it.                            18               MR. BEHRE: -- an investigator.
    19           Q.   Are you considered a private              19               MR. BARET: -- not -- this wasn't
    20   investigator?                                          20   for SDC Gadot. This affidavit was -- was --
    21           A.   Among other things, yes.                  21   was provided to the Court as an objection
    22           Q.   Are you registered as a private           22   to deposing personally. It wasn't --
    23   investigator here in Israel?                           23               MR. BEHRE: It doesn't matter.
    24           A.   I'm registered. And I have a --           24   It's the same case.
    25   the -- a firm certificate.                             25               MR. BARET: No, it's not.
                         JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC
                                                        85                                                        87
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 22 of 52
     1                I mean, there is objection to           1   you, we came here; right?
     2   his deposition, which the Court has not              2        A.     First of all, I truly appreciate
     3   ruled yet. We objected for his deposition.           3   the fact that you came here. As far as
     4   And since you came from Washington, I'm --           4   the deposition is concerned, we submitted
     5   I'm -- I'm sitting quietly and I'm trying            5   an objection, which has not been answered
     6   not to interfere. But it turns out that              6   yet. And like the other people present,
     7   you are deposing Amit Forlit as Amit Forlit,         7   we could have done it by Zoom.
     8   which we objected to this deposition. And            8        Q.     But it wouldn't have been as
     9   the Court hasn't ruled yet.                          9   intimate as this is.
    10                And we're here for the purposes        10        A.     That's the reason why I'm happy
    11   of investigating or taking deposition of            11   that you came here.
    12   a representative of SDC-Gadot Florida.              12        Q.     Well, thank you. I'm glad to
    13                MR. BEHRE: Correct.                    13   be here.
    14                MR. BARET: Now, it happens to          14               Whose idea was it to call the
    15   be Amit Forlit. But the Court has not               15   project that's the subject of SDG-Gadot
    16   ruled as to our objection to depose him             16   [sic] Project Beech?
    17   personally. And it turns out that this              17        A.     Stuart Page idea. [sic]
    18   deposition turns to be taking a deposition          18        Q.     And Stuart Page uses the term
    19   in his personal capacity, which we are              19   "SIGINT."
    20   objecting and -- object to. So --                   20               Did SDC-Gadot use SIGINT?
    21                MR. BEHRE: In the affidavit,           21        A.     I can -- I can state the various
    22   paragraph 5, he specifically references:            22   methods that -- that SDC-Gadot used. But,
    23                "SDC-Gadot LLC."                       23   you know, SIGINT is a -- quite an umbrella
    24                In paragraph 6, he says:               24   term that comes from -- from the field of
    25                "I am an investigator."                25   defense. And on top of that, Gadot SDC did
                         JULY 20, 2022 - AMIT FORLIT                              JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                   30(B)(6) SDC-GADOT LLC


                                                        86                                                        88


     1                MR. BARET: This is -- this              1   not use anything. It operated Gadot Israel.
     2   affidavit was provided in our objection              2        Q.     (Not translated.) Well, it did
     3   to depose him personally. It wasn't --               3   operate Gadot Israel, didn't it?
     4                MR. BEHRE: I'm -- I'm --                4               Because it facilitated the money
     5                MR. BARET: We never objected to         5   that was owed to Gadot Israel and that money
     6   deposition of SDC-Gadot. We're not objecting         6   ran through Florida; right?
     7   to SDC-Gadot. It's a Florida corporation.            7        A.     (Comment in Hebrew.)
     8   He happens to be a representative of that            8               THE INTERPRETER: (Comment in
     9   corporation. And I request that your                 9   Hebrew.)
    10   questioning will be related to SDC-Gadot            10               May I? I'm not sure you got
    11   and not to Amit personally, as the Court            11   correctly the --
    12   hasn't ruled yet as to your right to depose         12               THE COURT REPORTER: No, just --
    13   him personally. If the Court will --                13               THE INTERPRETER: -- translation.
    14                MR. BEHRE: Okay. I hear your           14               You -- he said that SDC-Gadot was
    15   objection.                                          15   operating Gadot Israel.
    16                MR. BARET: -- rules that he can        16               MR. BEHRE: Uh-huh.
    17   be deposed, then we'll -- we'll come here           17               THE INTERPRETER: Okay? Okay.
    18   again. And you can depose Amit Forlit in            18               (Pending question translated.)
    19   his personal capacity.                              19               THE WITNESS: Yes.
    20   BY MR. BEHRE:                                       20   BY MR. BEHRE:
    21        Q.      (Not translated.) Sir, you're          21        Q.     Did any of the payments that
    22   aware that the Court ordered you to be              22   SDC-Gadot received relate to Gadot's
    23   deposed in Florida; correct?                        23   use of subcontractors who were located
    24        A.      (In English.) Yes.                     24   in the United States?
    25        Q.      And you know, as a courtesy to         25        A.     Not that I can recall.
                         JULY 20, 2022 - AMIT FORLIT                              JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                   30(B)(6) SDC-GADOT LLC
                                                       89                                                        91
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 23 of 52
     1        Q.   Did you have any subcontractors           1   where there was a lack of cooperation
     2   in the United States?                               2   with the Emirates, for example, and
     3        A.   Not subcontractors. I had vendors         3   other authorities. And after all,
     4   that I paid, not --                                 4   the boss is the State.
     5        Q.   And did you have --                       5                So later we discovered that
     6        A.   -- subcontractors.                        6   there were other parties who were harming
     7        Q.   Did you have vendors located              7   or trying to harm the investigation and
     8   in the United States?                               8   the boss. And that's why we set up these
     9        A.   I had vendors in the United               9   security protocols.
    10   States. But they are not connected to              10        Q.      And part of the objective of
    11   the case related to Stuart Page.                   11   your work was to prevent those who you
    12        Q.   When you were drafting the               12   thought was harming RAK from doing harm;
    13   reports that you spoke about earlier               13   right?
    14   today, did you have an e-mail account              14        A.      So from -- the investigation
    15   you shared with Stuart Page's assistant            15   concentrated or focused on the criminal
    16   Caroline in which you created the reports?         16   activities carried out by Khater Massaad,
    17        A.   As part of transferring the              17   both business -- in business and in politics,
    18   reports, we had something that was called          18   such as, for example, assisting Hezbollah
    19   a DLB, a dead letter box. The reports              19   or violating the sanctions on Iran and
    20   were sent through that account. But I              20   he -- and the use -- his use of various
    21   don't recall who drafted them.                     21   infrastructures belonging to RAK, the
    22        Q.   But they were drafted by someone         22   State, in order to commit these illegal
    23   under your direction; correct?                     23   activities, criminal activities.
    24        A.   I would assume that yes.                 24                In -- among other things, we
    25             Because part of our expertise            25   provided protection. And our work included
                      JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                        30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC


                                                       90                                                        92


     1   was to set the security protocols, because          1   protecting -- creating protocols in order
     2   we were experts in cyber-security. So               2   to project -- protect the entire environment.
     3   that was why we did it in this way, why             3   The boss was very, very concerned. And he --
     4   it was decided to do it in this way.                4   he refused even to talk on the telephone
     5        Q.   So if I understand the way the            5   because he was so concerned.
     6   dead letter box works is that you share             6        Q.      And SDC-Gadot received payments
     7   an e-mail account. And you or someone               7   that were, at least in part, for the
     8   at your direction writes something in               8   preparation of those reports; correct?
     9   the e-mail. And then Caroline, on the               9        A.      (Translated.) So SDC-Gadot
    10   other side, accesses that same e-mail              10   received payment for the whole Beech
    11   account, because she knows the password            11   case. And that included the security
    12   too. And then Stuart Page gets the report.         12   protocols and --
    13        A.   Basically, yes. But it's much            13                (In English.) The reports.
    14   more complicated than that. And there's            14                (Translated.) -- the reports.
    15   much more security surrounding it.                 15        Q.      And it also included payments
    16        Q.   And why was there so much secrecy        16   for the work that was reflected in those
    17   and security about these reports?                  17   reports; right?
    18        A.   So starting from the beginning           18        A.      Yes.
    19   of the investigation, one of the greatest          19        Q.      Now, as part of your work for
    20   concerns of the boss was that Khater               20   which you were paid through SDC-Gadot,
    21   Massaad had joined forces with someone             21   you attended two meetings in Cyprus;
    22   else or other people in his family and             22   correct?
    23   they wanted to topple him.                         23        A.      I held more than two meetings
    24             Throughout the investigation,            24   in Cyprus.
    25   there were bizarre things that occurred            25        Q.      Okay. How many were there?
                      JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                        30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC
                                                           93                                                           95
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 24 of 52
     1         A.     So in this -- I don't recall               1           A.   (In English.) If -- if -- if
     2   how many exactly.                                       2   I can see the -- the affidavit, I can
     3                But in this case, I held meetings          3   refer to it. But --
     4   about once a month with Stuart and also                 4                (Translated.) If I could look
     5   sometimes with James and Neil, but must --              5   at it, I could tell you what is accurate
     6   much less frequently than with Stuart.                  6   and what's not.
     7   The meetings were held on an as-needed                  7                MR. BEHRE: Okay. I think we're
     8   basis, not on a specific day or month                   8   at -- why don't we take our break. It's
     9   or something like that.                                 9   2:00 o'clock.
    10                Cyprus was simply a convenient            10                MR. BARET: Okay.
    11   location because they could stop there                 11                THE INTERPRETER: Good idea.
    12   on their way from Dubai to England. And                12                THE VIDEOGRAPHER: Going off the
    13   for me, it's just a very short flight.                 13   record at 2:00 o'clock.
    14         Q.     So approximately how many meetings        14                (Recess from 2:00 p.m. to 3:06 p.m.
    15   were held in Cyprus involving your work                15           Israel Daylight Time.)
    16   for Stuart Page?                                       16                THE VIDEOGRAPHER: Going back on
    17         A.     I can estimate about five to              17   record at 3:06.
    18   ten meetings were held with Stuart in                  18   BY MR. BEHRE:
    19   Cyprus.                                                19           Q.   Okay. I'd like to go back to
    20         Q.     And how many of those were                20   something we talked about earlier, which
    21   attended by Neil Gerard?                               21   relates to Stuart Page's payments to Gadot.
    22         A.     I think just one.                         22                Do you know about how much Stuart
    23         Q.     How many were held with David             23   Page, through his entities, paid to SDC-Gadot?
    24   Hughes?                                                24           A.   Yes.
    25         A.     The same one.                             25           Q.   Do you know about how much?
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC


                                                           94                                                           96


     1         Q.     How about with Jamie Buchanan?             1           A.   We have to go back to the records.
     2         A.     I think, with Jamie Buchanan, we           2   But in terms of the U.S. companies, it was
     3   met at least three times over that period               3   between two hundred, two hundred and one
     4   in Cyprus.                                              4   per month. Relating to this specific case.
     5         Q.     How about Majdi Halabi, how many           5   Because there are other cases as well.
     6   times did you meet with him in Cyprus?                  6           Q.   Okay. Would it surprise you
     7         A.     Once.                                      7   if, into your Gadot account at Citibank
     8         Q.     And did you meet in Cyprus with            8   in the U.S., the total amount received
     9   at least some of these people on November               9   from Page Group, Page Group ME, and Page
    10   21st, 2018?                                            10   Risk Management totals more than $2.6
    11         A.     There was one meeting --                  11   million?
    12                MR. BARET: What -- what's the             12           A.   It wouldn't surprise me. And
    13   date of the -- the meeting you're referring            13   it is not only for this specific case.
    14   to?                                                    14           Q.   Okay. How did you first meet
    15                MR. BEHRE: November 21st, 2018.           15   Stuart Page?
    16                THE INTERPRETER: So I'll just --          16           A.   I believe it was in 2008 or
    17                "There was one meeting in Cyprus.         17   2007.
    18   It was a -- a team meeting that -- and                 18           Q.   And how did you meet him?
    19   Majdi was present for a short part of it,              19           A.   I went to London. And I was
    20   the part that related to him. I -- if I --             20   requested to do some job for him.
    21   if I could see Majdi's affidavit, I would              21           Q.   Requested by who?
    22   be able to tell you exactly when it was."              22           A.   Through a mutual acquaintance
    23   BY MR. BEHRE:                                          23   for whom I was working at the time.
    24         Q.     So Majdi Halabi's affidavit was           24           Q.   And who is that mutual
    25   accurate on this point?                                25   acquaintance?
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC
                                                           97                                                         99
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 25 of 52
     1        A.      How is this connected to                   1   we would make some arrangements that would
     2   this case?                                              2   pacify the banks. But to the best of my
     3        Q.      It's directly related. Stuart              3   recollection, there was no organized orderly
     4   Page paid you 2 point -- Stuart Page paid               4   retainer agreement with him.
     5   you $2.6 million into the U.S. account.                 5        Q.    What was the purpose for which
     6                And I want to know how it is you           6   you were hired?
     7   first came in contact with Stuart Page.                 7        A.    You mean on the Beech Project?
     8        A.      I met him through a mutual                 8        Q.    Yes.
     9   acquaintance. I believe it was Mr. Rafi                 9        A.    As I specified earlier, there
    10   Pridan.                                                10   were concerns and suspicions on the part
    11                MR. BEHRE: What's the name?               11   of the boss that Khater Massaad was stealing,
    12                THE INTERPRETER: Rafi Pridan.             12   was causing damage to the State, including
    13   Rafi Pridan.                                           13   assistance given to political opponents,
    14   BY MR. BEHRE:                                          14   including felonies that would embarrass
    15        Q.      And Mr. Pridan's been convicted           15   the boss very seriously vis-a-vis the
    16   of hacking, hasn't he?                                 16   United States, in terms of violations
    17        A.      I'm not familiar with this.               17   of the sanctions against Iran.
    18   I don't think so.                                      18        Q.    Did your investigation involve
    19        Q.      He's been charged with hacking,           19   at all Karam Al Sadaq?
    20   hasn't he?                                             20        A.    The correct name is Karam Al --
    21        A.      No. To the best of my knowledge,          21   Karam --
    22   he was not accused of hacking.                         22              THE INTERPRETER: Karam Al --
    23        Q.      Okay. And what you -- you said            23              THE WITNESS: -- Al Sadeq.
    24   it was 2008 when you first met him?                    24              THE INTERPRETER: -- Sadeq.
    25        A.      I think so.                               25              THE WITNESS: Karam. Karam.
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC


                                                           98                                                         100


     1        Q.      When were you first hired for              1              THE INTERPRETER: Karam Al --
     2   Project Beech?                                          2   Karama?
     3        A.      I believe it was March 2015.               3              THE WITNESS: Karam.
     4        Q.      So you worked with Stuart Page             4              THE INTERPRETER: Karam Sadeq.
     5   for approximately seven years before this               5              THE WITNESS: "Kaf," "aleph,"
     6   project; right?                                         6   "mem" -- "resh," "mem."
     7        A.      Not consistently. But between              7              THE INTERPRETER: Karam Sadeq.
     8   2008 and 2015, on and off.                              8              THE WITNESS: Karam Al Sadeq.
     9        Q.      And did your work for Stuart Page,         9              THE INTERPRETER: Karam Al Sadeq.
    10   relating to Khater Massaad and the others,             10              THE WITNESS: I also speak Arabic.
    11   such as Farhad Azima, did they go by any               11              When we launched our investigation,
    12   other name than Project Beech?                         12   Karam was already arrested by the authorities
    13        A.      I was working only on Khater              13   of RAK. And we did -- we did get feedback
    14   Massaad, as the subject of my investigation.           14   from -- concerning him from the investigation.
    15   And it went only under Project Beech.                  15   He had already been investigated by RAK, among
    16        Q.      Was there ever a time when that           16   other things, concerning offshore companies
    17   investigation was also called Project Oak?             17   that he had.
    18        A.      No. Project Oak is something else.        18   BY MR. BEHRE:
    19        Q.      Okay. You testified earlier that          19        Q.    The allegations against Al Sadeq
    20   you did not have a retainer agreement with             20   were similar to the allegations against
    21   Stuart Page; is that correct?                          21   Massaad; right? They were related?
    22        A.      To the best of my recollection,           22        A.    Not -- not exactly.
    23   there was no retainer agreement.                       23              To the best of my recollection,
    24                Occasionally, when we had problems        24   Sadeq assisted in creating the infrastructure
    25   with funds transferring with Hong Kong,                25   for Massaad's activity. But the -- the
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC
                                                           101                                                       103
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 26 of 52
     1   initiator was Massaad.                                   1   also.
     2           Q.   Were you present for any of the             2           Q.   And Stuart Page.
     3   interrogations of Al Sadaq?                              3                What was discussed at that
     4           A.   No. And I've never been to Ras              4   meeting, if you recall?
     5   Al Khaimah.                                              5           A.   It was a coordination meeting
     6           Q.   And how long did you work on                6   concerning the management of the case.
     7   Project Beech for for which payments were                7   One of the subjects was the fact that
     8   received by SDC-Gadot?                                   8   in the procedure -- or the proceedings --
     9           A.   I estimate that it was from the             9                THE INTERPRETER: Sorry.
    10   beginning of 2018 and up to April 2020.                 10                THE WITNESS: -- involving
    11           Q.   Right before we went to lunch,             11   Farhad Azima, Stuart was requested to
    12   we talked about a meeting that you recalled             12   tell who was it that divulged to him
    13   in Cyprus.                                              13   the existence of the leaked materials.
    14                Do you remember that discussion?           14                Since the -- there was a fear
    15           A.   Yes.                                       15   on the part of the client to divulge that
    16           Q.   And that was on November 21st,             16   an Israeli firm was working for him and
    17   2018?                                                   17   that it would be mis-used by his political
    18           A.   (Translated.) I have to see                18   opponents, we decided that Majdi Halabi,
    19   the affidavit of Majdi Halabi in order                  19   who was working on the case, is the one
    20   to remember --                                          20   who will say that he is the one who told
    21                (In English.) The exact date.              21   Stuart about the leaked information or
    22                (Translated.) -- the exact date.           22   the leaked files, leaked materials.
    23           Q.   Well, wouldn't your travel records         23                And I'd like to clarify that,
    24   show?                                                   24   to this day, we do not know who it was
    25           A.   Yes. But I don't have them with            25   who had reported to Stuart the existence
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC


                                                           102                                                       104


     1   me right here.                                           1   of those leaked documents.
     2           Q.   Well, I'm -- I'm confused.                  2   BY MR. BEHRE:
     3                Because I thought you didn't --             3           Q.   So when you attended that
     4   you thought Mr. Halabi wasn't telling the                4   meeting in Cyprus in November 2018,
     5   truth.                                                   5   you were paid by Page -- one of Page's
     6                But you want to read his witness            6   entities to SDC-Gadot; right?
     7   statement to find out what the truth is?                 7           A.   As I said before, the payment
     8           A.   Mr. Halabi stated in -- two                 8   was made for the entire activity on
     9   meetings in his affidavit. One of them                   9   this case, among other things for that
    10   was not held. If I see -- if I -- if                    10   specific meeting.
    11   I see his affidavit, I will see in which                11           Q.   And that specific meeting
    12   meeting -- to which meeting he relates                  12   concerned Farhad Azima; correct?
    13   where Mr. Hughes was present. And that                  13           A.   This was -- this related
    14   is the meeting that did take place indeed.              14   to a legal proceedings that the client
    15   But I need to see the affidavit in order                15   had requested us to refer to, legal
    16   to -- to ascertain that.                                16   proceedings bearing on or touching
    17           Q.   Well, putting aside the precise            17   Farhad Azima.
    18   day, was it November 2018?                              18           Q.   So you were paid to attend
    19           A.   Once again, I think so.                    19   the meeting in Cyprus that concerned
    20           Q.   Okay. And that was the meeting             20   Farhad Azima; correct?
    21   where Hughes was present, Gerard was                    21           A.   Yes.
    22   present, Buchanan was present; right?                   22           Q.   Who ran that meeting in Cyprus?
    23           A.   Yes.                                       23           A.   I think it was Neil.
    24           Q.   And Halabi was present?                    24           Q.   You ran the meeting?
    25           A.   In part of it. And Stuart                  25           A.   (Comment in Hebrew.)
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC
                                                          105                                                        107
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 27 of 52
     1                THE INTERPRETER: (Comment in               1        A.      Yes.
     2   Hebrew.)                                                2        Q.      And who was responsible for
     3                MR. BARET: He said "Neil."                 3   booking that hotel and for security
     4                THE INTERPRETER: (Comment in               4   arrangements for all the parties to
     5   Hebrew.)                                                5   get there?
     6                MR. BARET: "Neil."                         6        A.      Stuart had asked me to organize
     7                THE INTERPRETER: "Neil." "Neil."           7   a meeting under the seal of secrecy that
     8                MR. BEHRE: Oh. I'm sorry. I                8   would be secured and secluded.
     9   thought it was "me."                                    9                At first I suggested to him
    10                THE INTERPRETER: Sorry. "Neil."           10   to hold it in Israel because, in Israel,
    11                MR. BARET: No. "Neil."                    11   it's the easiest for me to arrange the
    12                MR. BEHRE: "Neil."                        12   security. Then he asked it to be in
    13                THE INTERPRETER: No. "Neil."              13   Switzerland. So I'm the one who reserved
    14   BY MR. BEHRE:                                          14   the hotel. I also booked security personnel,
    15        Q.      Okay. So Neil Gerard ran the              15   cars, vehicles that would drive the people,
    16   meeting?                                               16   and all that on Stuart's request.
    17                Apologies.                                17        Q.      And were all those expenses
    18        A.      "Kin."                                    18   billed through and paid from Page to
    19        Q.      And how many -- where did the             19   SDC-Gadot?
    20   meeting occur?                                         20        A.      I assume so. Yes.
    21        A.      In a conference room of this              21        Q.      How long did that meeting at
    22   type in one of the hotels there. But                   22   the Swiss hotel last?
    23   I do not -- don't recall specifically                  23        A.      Two or three days.
    24   which.                                                 24        Q.      And you rented out the entire
    25        Q.      How long did the meeting last?            25   hotel for those two or three days; right?
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC


                                                          106                                                        108


     1        A.      I estimate about two hours.                1        A.      It was a hotel that was not
     2        Q.      Did you stay -- did anybody                2   active during the week. It was only
     3   stay overnight?                                         3   active on weekends. So there -- that
     4        A.      Not that I know of.                        4   is why it was convenient to -- to book
     5        Q.      What did Neil Gerard say the               5   it for our purpose. And it was easy
     6   purpose of the meeting was?                             6   to -- to arrange the security arrangements.
     7        A.      The -- the purpose was the --              7        Q.      And during your stay there, you
     8   the coordination of the management of                   8   had a private chef and a private wine cellar
     9   this case generally. And one of the                     9   to use; right?
    10   specific subjects was the preparation                  10        A.       I -- I believe it is a slightly
    11   by Stuart for his testimony in the                     11   exaggerated or overrated description.
    12   trial.                                                 12                Someone was cooking for us. And
    13        Q.      And by the "management of                 13   I personally don't consume alcohol at all,
    14   this case generally," you're referring                 14   whatsoever. But with the meals, there was
    15   to the lawsuit involving Farhad Azima                  15   also alcohol served.
    16   and Rakia?                                             16        Q.      Well, Mr. Gerard likes his wine;
    17        A.      One of the subjects was that.             17   right?
    18        Q.      You also attended a meeting in            18        A.      Mr. Stuart likes the honey that
    19   Switzerland; correct?                                  19   he took from the hotel. Each one has his
    20        A.      Yes.                                      20   own likings.
    21        Q.      Do you recall when that was?              21        Q.      What was the purpose of the
    22        A.      I believe it was the end of 2019.         22   meeting?
    23        Q.      Was it in December 2019?                  23        A.      As far as I'm concerned, the
    24        A.      I believe so.                             24   purpose was another coordination meeting
    25        Q.      Was it at the Hotel Moosegg?              25   in the management of this case.
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC
                                                          109                                                         111
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 28 of 52
     1             The atmosphere in the meeting                 1   personally guard people inside.
     2   was, of course, more homely [sic], more                 2        Q.     Okay.
     3   pleasant. And he asked the people who                   3        A.     And -- and some of the time, I
     4   had submitted affidavits to do some sort                4   actually let them go eat and I took over
     5   of rehearsal for the trial.                             5   for them.
     6             As I personally was no party                  6        Q.     Were you present when Mr. Halabi
     7   to this trial, in the parts that related                7   was rehearsing his testimony?
     8   specifically to the trial, I practically                8        A.     I don't recall. It's possible
     9   did not participate.                                    9   for part of the time. But I -- I don't
    10        Q.   And the rehearsal of -- the                  10   recall specifically.
    11   rehearsal of the trial testimony concerned             11        Q.     You're the one that asked Halabi
    12   Mr. Page and Mr. Halabi; correct?                      12   to be involved in the case; isn't it true?
    13        A.   Yes. Correct.                                13        A.     Halabi was involved in this case
    14        Q.   And Mr. Gerard too, because                  14   long before 2018 or '19 or whenever it was.
    15   he was going to testify at the trial;                  15   Halabi, in fact, covered very large parts
    16   right?                                                 16   of areas in the Gulf and Saudi Arabia.
    17        A.   I would assume so. I'm not                   17   And he was well-versed in the details of
    18   really very well-versed in, you know,                  18   the case.
    19   what was -- had to do with the running                 19               It might have been me or perhaps
    20   of the trial. I wasn't a party to it --                20   it was him who suggested this minor detail
    21   to that case.                                          21   that the leaked information was on the
    22             So -- but yes, I would assume                22   Internet.
    23   that Gerard also was to give testimony                 23        Q.     And you say that's a minor detail.
    24   at that trial.                                         24               But that was a big issue in the
    25        Q.   And you instructed everybody                 25   case, wasn't it?
                         JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC


                                                          110                                                         112


     1   that attended the meeting to leave their                1        A.     I'm not a legal expert. And I
     2   phone home or to turn it off when they                  2   didn't follow all the details of the case,
     3   were at the location so their location                  3   because that's not my job. I consider it
     4   device on the phone would not work; right?              4   a minor detail.
     5        A.   No. I had my phone. Majdi had                 5        Q.     Well, you're aware, aren't you,
     6   his phone. The -- the security team had                 6   that by the time that meeting was held
     7   theirs. Nobody gave those instructions.                 7   in Switzerland, Farhad Azima had already
     8        Q.   (Not translated.) So what was                 8   sued Rakia, the boss, for hacking him in
     9   the purpose of the -- of a security team?               9   the United States; right?
    10        A.   At that stage, so the -- at that             10        A.     I don't -- I have no information
    11   time, the boss was extremely concerned that            11   regarding who hacked into Farhad Azima's
    12   somebody was trying to topple him or that              12   computers. But I do know that, in wake
    13   he was going to be toppled. And he asked               13   of the trial in the U.K., it was decided
    14   Stuart -- because I got my instruction from            14   that the boss -- he was right, that he --
    15   Stuart. He asked Stuart -- he insisted that            15   yeah, that he was right.
    16   there be the most stringent security measures          16        Q.     The boss was right about what?
    17   possible taken.                                        17        A.     He won the trial in England,
    18        Q.   But as I understand what you're              18   his suit against Farhad Azima.
    19   saying, there were bodyguards who you hired            19        Q.     But you're aware now that two
    20   to guard the hotel.                                    20   of the witnesses who testified at the
    21             Am I right?                                  21   trial admitted they committed perjury
    22        A.   Yes. The -- the -- the bodyguards'           22   and that the plot to commit that perjury
    23   job was to stand outside and to keep a lookout         23   occurred at that Swiss hotel that you
    24   to see if there were any surveillance teams            24   set up?
    25   surveilling the hotel. They -- they didn't             25               Are you aware of that?
                         JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC
                                                          113                                                           115
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 29 of 52
     1        A.     I was not part of the trial.                1                THE INTERPRETER: It's -- no, you're
     2   I was asked -- I was asked to organize                  2   fine.
     3   the meeting and be in charge of security.               3                MR. BEHRE: Okay.
     4   And I understand that there's a trial now               4                THE INTERPRETER: You can go on as
     5   regarding the liability of the person who               5   long as you like. We have it right in front
     6   did what he said he did.                                6   of us. So --
     7        Q.     But you're aware that two of the            7                MR. BEHRE: Okay.
     8   people that attended that meeting, under                8                THE INTERPRETER: -- we have the
     9   high security in Switzerland, Mr. Page and              9   true notes, the realtime, or whatever it's
    10   Mr. Halabi, have now confessed to committing           10   called.
    11   perjury and have said they learned their               11   BY MR. BEHRE:
    12   perjury in Switzerland and the headmaster              12           Q.   (Not translated.) Are -- and --
    13   of that perjury school was Neil Gerard?                13   and I -- I don't know if I said the obvious.
    14               That's what they both say; right?          14                But these are SDC-Gadot LLC's
    15        A.     I cannot relate to the content             15   bank records; correct?
    16   of the conversations between Neil Gerard,              16           A.   I thank you, first of all, for
    17   Stuart Page, and Majdi Halabi, because                 17   bringing it to me, because I didn't have
    18   I was not a part of those conversations.               18   it.
    19               What I can say -- what I can               19                (Pending question translated.)
    20   say is that, upon reading the new affidavits           20                THE WITNESS: Yes, yes. That's
    21   from Majdi Halabi and Stuart Page, I identify          21   correct.
    22   certain statements that are not true.                  22   BY MR. BEHRE:
    23        Q.     And you're aware that Stuart Page          23           Q.   And it appears that the account
    24   specifically says he hired you to hack; right?         24   was opened, from the first page that's
    25               That's what he says.                       25   Bates number 44, on October 30th, 2017,
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC


                                                          114                                                           116


     1        A.     And that's one of the parts that            1   with a deposit of a thousand dollars;
     2   are lies.                                               2   right?
     3               (Exhibit 4 marked.)                         3           A.   Yes. That's at the opening
     4   BY MR. BEHRE:                                           4   of the account.
     5        Q.     I'd like to next show you what              5           Q.   And you testified earlier
     6   we've marked as Exhibit No. 4. It's the                 6   that you opened this account in person
     7   Citibank bank statements --                             7   in Florida; correct?
     8        A.     (Comment in Hebrew.)                        8           A.   Yes.
     9        Q.     -- the first one being an account           9           Q.   And when you opened the account,
    10   statement for October 2017, the last statement         10   what did you represent to Citibank the
    11   being an account statement for June 2021.              11   business of SDC-Gadot was?
    12               And they have a Bates number, so           12           A.   I do not recall.
    13   a number at the bottom right-hand corner,              13           Q.   Did you fill out an application
    14   that starts with the last five digits 00044            14   form that you recall?
    15   through 00147.                                         15           A.   I assume that I did. But I do
    16        A.     Okay. (Examining.)                         16   not recall.
    17               MR. BEHRE: And apologies if my             17           Q.   I'd like to turn your attention
    18   sentences are too long.                                18   to page 48. And, again, the numbers are
    19               THE INTERPRETER: No, it's fine.            19   in the lower right-hand corner. It's the
    20   I have it --                                           20   bank statement for the period of December
    21               MR. BEHRE: You should --                   21   1st through December 31st, 2017.
    22               THE INTERPRETER: -- in front --            22                It should be five pages in.
    23               MR. BEHRE: -- both feel free --            23           A.   (Comment in Hebrew.)
    24               THE INTERPRETER: -- of me.                 24                (In English.) Yes.
    25               MR. BEHRE: -- to stop me.                  25                (Translated.) Okay. Yes.
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC
                                                         117                                                        119
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 30 of 52
     1        Q.   And you see on December 20th,                1             Do you see that?
     2   2017, a credit for $5,000, which was a                 2        A.   "Kin."
     3   wire from Insight Analysis and Research;               3             (In English.) Yes.
     4   right?                                                 4             (Last question partially
     5        A.   Yes.                                         5        translated.)
     6        Q.   And then two pages later, on                 6             THE INTERPRETER: "Yes."
     7   page 50, there's $45,000 wired again by                7   BY MR. BEHRE:
     8   Insight Analysis.                                      8        Q.   And Fusion GPS is an
     9             Do you see that?                             9   investigative firm; is that correct?
    10        A.   (In English.) Yes.                          10        A.   Yes. But there's no connection
    11             (Translated.) Yes.                          11   whatsoever to Stuart Page or Project Beech.
    12        Q.   And Insight Analysis is your                12        Q.   And Fusion GPS was a subcontractor
    13   other Florida-based LLC; correct?                     13   to SDC-Gadot; correct?
    14        A.   Yes.                                        14        A.   No. They did not do any work for
    15        Q.   (Not translated.) And now going             15   SDC-Gadot. But they -- they received payment
    16   to page 52, which is the statement for                16   for something else.
    17   February 2018, you'll see another deposit,            17        Q.   (Partially translated.) Well, SD --
    18   this time for $111,950. And it's a wire               18   let me -- let me rephrase it.
    19   from Page Group ME.                                   19             SDC-Gadot paid Fusion GPS $99,000
    20             Do you see that?                            20   in February of 2018; right?
    21        A.   "Kin."                                      21             THE INTERPRETER: 2018? 2018.
    22             (In English.) Yes.                          22             MR. BEHRE: Yes.
    23        Q.   And that's a payment from Mr. Page,         23             (Remainder of pending question
    24   who hired you for Project Beech; correct?             24        translated.)
    25        A.   (Translated.) Yes.                          25             THE WITNESS: Yes.
                       JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                         30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC


                                                         118                                                        120


     1             (In English.) I suppose so.                  1   BY MR. BEHRE:
     2             (Translated.) I suppose so. But              2        Q.   And what were they paid for?
     3   I'm not -- I'm not sure. Because there were            3        A.   I don't recall what the payment
     4   other projects. Mr. Page paid me for other             4   was for. But I can say that Fusion GPS
     5   projects other than Beech. So I'd have to              5   had no connection to Stuart Page or
     6   check to make sure.                                    6   Project Beech.
     7        Q.   And your invoices would indicate             7        Q.   But if you can't recall what
     8   if it was Project Beech; correct?                      8   it was for, how could you be sure?
     9        A.   (In English.) Yes.                           9        A.   Because I know that Fusion had
    10             (Translated.) Yes.                          10   nothing to do with this case.
    11        Q.   And you indicated you reviewed              11        Q.   If you turn the page, on page 53,
    12   some invoices to prepare for your testimony           12   you'll see that Fusion gets another 50,000
    13   today.                                                13   on February 15, another 50,000 on February
    14             Did those invoices say "Project             14   20, and another 50,000 on February 27.
    15   Beech" on them?                                       15             Do you see that?
    16        A.   Yes. But I don't have them here.            16        A.   Yes.
    17   I can bring them tomorrow.                            17        Q.   And so --
    18        Q.   (Translated.) Okay. Would you               18        A.   Same answer.
    19   do that, please?                                      19        Q.   So for the month of February,
    20             (Not translated.) And if you                20   Fusion GPS was paid 250 --
    21   look on the same page, that's page 52,                21             (Brief telephone interruption.)
    22   on February 6 and February 13, just about             22   BY MR. BEHRE:
    23   a week apart, there were two transfers,               23        Q.   -- $250,000 by SDC-Gadot; right?
    24   one for 49,000 and one for 50,000, to                 24        A.   That's correct.
    25   Fusion GPS.                                           25        Q.   And did the payments to Fusion
                       JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                         30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC
                                                             121                                                         123
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 31 of 52
     1   GPS relate to anything you were doing                      1   right?
     2   for Stuart Page?                                           2              THE INTERPRETER: What was his name
     3        A.    Under no circumstances. Not                     3   again?
     4   at all.                                                    4              THE COURT REPORTER: Glenn. Glenn.
     5        Q.    Well, earlier today you said                    5              THE WITNESS: Glenn.
     6   this account was opened simply because                     6              MR. BEHRE: Glenn Simpson.
     7   Stuart Page had trouble transmitting                       7              (Remainder of pending question
     8   funds to you; right?                                       8        translated.)
     9        A.    That's correct.                                 9              THE WITNESS: Not only. But yes,
    10        Q.    (Partially translated.) And                    10   him too.
    11   the other entry on page 53 is a $275,000                  11   BY MR. BEHRE:
    12   credit, a wire from Insight, your other                   12        Q.    And the other one was Peter French;
    13   Florida entity, to this Gadot account;                    13   right?
    14   right?                                                    14        A.    Yes. Peter French too.
    15              THE INTERPRETER: Two hundred                   15        Q.    (Not translated.) Directing
    16   and seventy-five, you said; right?                        16   your attention to 54. That's the SDC-Gadot
    17              MR. BEHRE: Yes.                                17   statement for March 2018.
    18              (Remainder of pending question                 18              There is a -- there's a wire on
    19        translated.)                                         19   March 1st for $30,000 to Aviram Hawk, which
    20              THE WITNESS: Yes. That's                       20   is Aviram Azari's company; correct?
    21   correct.                                                  21              THE INTERPRETER: Whose company?
    22   BY MR. BEHRE:                                             22              THE COURT REPORTER: Aviram's.
    23        Q.    (Partially translated.) There's                23              MR. BEHRE: Aviram Azari.
    24   a $47,000 payment on February 22nd, a wire                24              THE INTERPRETER: Azari.
    25   to an Olam Hamachshevim.                                  25              (Pending question translated.)
                         JULY 20, 2022 - AMIT FORLIT                                     JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                          30(B)(6) SDC-GADOT LLC


                                                             122                                                         124


     1              Who is that?                                    1              THE WITNESS: Yes. That's
     2              THE INTERPRETER: Did I get that                 2   correct.
     3   right, Olam Hamachshevim?                                  3   BY MR. BEHRE:
     4              THE WITNESS: "Kin." Olam                        4        Q.    And Mr. Azari recently pled
     5   Hamachshevim.                                              5   guilty in Federal Court in New York to
     6              (Remainder of pending question                  6   hacking, didn't he?
     7        translated.)                                          7        A.    Yes. He confessed to seven
     8              THE WITNESS: (Translated.) It's                 8   separate incidents of computer hacking
     9   a vendor who supplied me with equipment.                   9   in New York.
    10   Again, it has nothing to do with --                       10        Q.    And the document in which he
    11              (In English.) Stuart Page.                     11   pled guilty references an Israeli company.
    12              (Translated.) -- Stuart Page.                  12   But they don't name that company.
    13   BY MR. BEHRE:                                             13              Was that company yours?
    14        Q.    So it's your testimony that Olam               14        A.    No.
    15   [sic] sold you equipment?                                 15        Q.    How do you know that?
    16        A.    Yeah. It's a computer store, Olam              16        A.    Because I've never commissioned
    17   Hamachshevim.                                             17   hacking and have never paid for hacking.
    18              THE INTERPRETER: That -- interpreter's         18        Q.    You're aware that Mr. Azari is
    19   note. That means "computer world" in -- in                19   cooperating with Federal law enforcement
    20   Hebrew.                                                   20   officials in the U.S.; correct?
    21              "So yeah, I -- I guess it must                 21        A.    I wish him all the best.
    22   have been for equipment."                                 22        Q.    Have you been contacted by those
    23   BY MR. BEHRE:                                             23   prosecutors about this case?
    24        Q.    (Partially translated.) And your               24              MR. BARET: It's not related to
    25   contact point at Fusion GPS was Glenn Simpson;            25   SDC-Gadot. You don't have to answer that.
                         JULY 20, 2022 - AMIT FORLIT                                     JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                          30(B)(6) SDC-GADOT LLC
                                                         125                                                            127
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 32 of 52
     1             THE WITNESS: This has nothing                1   And I asked him that any investigations he
     2   to do with this case or with Stuart.                   2   did to me -- for me be done in accordance
     3   BY MR. BEHRE:                                          3   with the law.
     4        Q.   Well, I beg to differ.                       4        Q.     Why did you find it necessary to
     5             The SDC-Gadot bank statement,                5   tell him to act lawfully?
     6   which is directly related to this case,                6        A.     I say that to every one of my
     7   has a wire out to a man who's confessed                7   subcontractors.
     8   to and now convicted of hacking. This                  8        Q.     If you look on the same page,
     9   case is all about hacking. And I'm asking              9   that's page 54, there are two entries on
    10   the witness about his relationship with               10   March 15th, 2018, where you received wires.
    11   the hacker.                                           11   And one of them -- the first one is from
    12             MR. BARET: You can ask about                12   Florida AP [sic] Telecom, Inc.
    13   the transaction, why it was paid. And he              13               Do you see that?
    14   can confess to a -- confess to a murder.              14               It's $100,000 that came in from
    15   I mean, it doesn't mean that it's got                 15   a Florida entity; correct?
    16   anything to do with SDC-Gadot.                        16        A.     This is -- this is a -- a different
    17             MR. BEHRE: I am entitled to                 17   customer. It has nothing to do with Page
    18   explore it. If you want to instruct him               18   or any of this case.
    19   not to answer, then we'll have to just                19               And I can add that the investigation,
    20   raise this issue too. It's up to you.                 20   in this particular instance, was in South
    21             MR. BARET: I mean --                        21   America and has nothing to do with what's
    22             THE WITNESS: I -- I have answered           22   going on.
    23   that this has nothing to do with this case.           23        Q.     In your affidavit that you
    24   And Aviram Azari did other jobs, other than           24   submitted in this case in Florida, you
    25   hacking, that he was paid for.                        25   indicated that you didn't transact business
                         JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC


                                                         126                                                            128


     1             "Rega."                                      1   in Florida. And yet we have a transaction
     2             THE INTERPRETER: No.                         2   where you received $100,000 from a Florida
     3             THE WITNESS: The prosecutors,                3   company.
     4   in the case of Aviram Azari, have never                4               What business did you transact
     5   contacted me or asked me for any information.          5   with this Florida company?
     6   BY MR. BEHRE:                                          6        A.     I did not transact any business
     7        Q.   What work did Azari do for you,              7   in Florida, as I said earlier. And this
     8   if it wasn't hacking?                                  8   payment is for work that was done in South
     9        A.   For me he never did any work.                9   America.
    10        Q.   Yet he was paid $55,000 on March            10        Q.     With a Florida company; right?
    11   1st and March 12, 2018.                               11        A.     The payment, as I see here,
    12        A.   He did work for Gadot. And                  12   came from Florida. But again -- once
    13   that work included economic investigations            13   again, this has nothing whatsoever to
    14   or financial investigations.                          14   do with Stuart Page or Project Beech.
    15        Q.   And by --                                   15        Q.     And if you go to the next page,
    16             THE INTERPRETER: "Financial                 16   page 55, here's another wire from Florida
    17   investigations" or "economic."                        17   IP Telecom on March 16th for $200,000.
    18   BY MR. BEHRE:                                         18               Do you see that?
    19        Q.   And by "financial investigations,"          19        A.     Yes.
    20   does that mean obtaining confidential                 20        Q.     (Partially translated.) And
    21   banking and financial records about                   21   Florida IP Telecom is owned by Fernando
    22   individuals who were being investigated?              22   Alonzo Paredes; right?
    23        A.   The investigations that Azari               23               THE INTERPRETER: Could you
    24   did for me had nothing to do with Project             24   repeat the name? Fernando?
    25   Beech or anything to do with Stuart at all.           25               MR. BEHRE: Fernando Alonzo
                         JULY 20, 2022 - AMIT FORLIT                                JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                     30(B)(6) SDC-GADOT LLC
                                                         129                                                          131
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 33 of 52
     1   Paredes, P-a-r-e-d-e-s.                                1   2021, in this bank account alone, you
     2                (Remainder of pending question            2   transferred from the Citibank account
     3        translated.)                                      3   for Gadot SDC more than 2.5 million to
     4                THE WITNESS: That may be                  4   Gadot Information Services here in Israel?
     5   correct.                                               5        A.    I didn't add it up. But that
     6   BY MR. BEHRE:                                          6   sounds about right.
     7        Q.      (Partially translated.) And               7        Q.    And would it surprise you if
     8   he also owns a company called Overseas                 8   I said that the payments to Fusion GPS,
     9   Consulting Limited, LLP, another Florida               9   between just February 2018 and July 2018,
    10   company; correct?                                     10   total more than $1.2 million?
    11                THE INTERPRETER: Could you               11        A.    I do not understand the connection
    12   repeat the name of the company?                       12   between Page, the Beech Project, Azima,
    13                MR. BEHRE: Overseas Consulting           13   and Fusion.
    14   Limited, LLP.                                         14        Q.    (Not translated.) I'm just
    15                (Remainder of pending question           15   asking you: Does it surprise you that,
    16        translated.)                                     16   from February 2018 through July 2018,
    17                THE WITNESS: I have no idea.             17   there were payments from the SDC-Gadot
    18   I don't know the person. I have no way                18   Citibank account with a Miami, Florida
    19   of confirming or denying that.                        19   address to Fusion, exceeding $1.2 million?
    20   BY MR. BEHRE:                                         20        A.    My answer is that I'm not surprised.
    21        Q.      Well, if you look on March 23rd,         21        Q.    Okay. What is BM -- BMI Analysis
    22   on page 55, you received $350,000 from                22   Limited?
    23   Overseas Consulting Limited, LLP; correct?            23        A.    I don't remember. It could be
    24        A.      There's no connection whatsoever         24   one of the vendors or one of the customers.
    25   between these wires and Stuart Page. And              25              Is it someone on the receiving
                         JULY 20, 2022 - AMIT FORLIT                              JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                   30(B)(6) SDC-GADOT LLC


                                                         130                                                          132


     1   I -- I can't answer beyond saying that                 1   end? On the paying end?
     2   this has nothing to do with Project Beech,             2              (Comment in Hebrew.)
     3   Farhad Azima, or Stuart Page.                          3        Q.    If you look at March 30th.
     4        Q.      So in the month of March 2018,            4        A.    I'm looking for it.
     5   you received $650,000 from Florida                     5        Q.    March 30th.
     6   companies; correct?                                    6        A.    (In English.) CBOL to BMI. Aah.
     7        A.      This work was not executed                7              (Translated.) I paid. So I guess
     8   in Florida. The customer is not a U.S.                 8   it's one of our vendors.
     9   citizen. And apparently part of the                    9        Q.    And it's true, isn't it, that BMI
    10   payment for this work was transferred                 10   Analysis Limited was also working on Project
    11   through an American -- through American               11   Beech?
    12   companies.                                            12        A.    I do not recall.
    13        Q.      But are you aware that Overseas          13        Q.    Okay. Now let's go to April
    14   Consulting Limited, LLP, is a Florida                 14   2018, page number 56.
    15   corporation?                                          15        A.    Going backwards?
    16        A.      It's not something I checked             16        Q.    And you'll see that there are
    17   then. I believe you.                                  17   five payments for $50,000 each to Fusion.
    18        Q.      And then on that same page,              18   And there are several wires out to Gadot
    19   page 55, on March 19th and March 20th,                19   Information Services for $50,000.
    20   there are wires out to Gadot Information              20              Why --
    21   Services, which, as I understand it, is               21        A.    Citibank restricted the amounts
    22   the Gadot entity here in Israel; correct?             22   of the transfers I could make to $50,000
    23        A.      Correct.                                 23   each. And that is why we divided payments
    24        Q.      And does it sound about right            24   into several $50,000 payments.
    25   that, between March 2018 and February 20 --           25        Q.    And why did Citibank impose that
                         JULY 20, 2022 - AMIT FORLIT                              JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                   30(B)(6) SDC-GADOT LLC
                                                            133                                                       135
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 34 of 52
     1   restriction?                                              1   62. That's for May 2018.
     2        A.     You have to ask them.                         2        A.     Yes.
     3        Q.     Did it -- was it always that way?             3        Q.     And you'll see more wires to BMI
     4   Or did they restrict you after you opened                 4   Analysis Limited.
     5   the account?                                              5               Do you see that on May 1?
     6        A.     No. It was from the start.                    6        A.     (In English.) Okay.
     7        Q.     And in April of 2018, there were              7               (Translated.) Okay.
     8   several more wires out from SDC-Gadot to                  8        Q.     And there are numerous wires
     9   Gadot Information Services here in Israel;                9   out to your Gadot entity here in Israel,
    10   right?                                                   10   starting on May the 2nd.
    11        A.     Correct.                                     11               Do you see that?
    12        Q.     (Partially translated.) Throughout           12        A.     Yes.
    13   these bank records, there are debit card                 13        Q.     (Partially translated.) And
    14   purchases for iPostal1.                                  14   you'll see, on May 21st, Page Group ME
    15               What are those?                              15   sends you $187,000 -- 187,450?
    16               THE INTERPRETER: What's the name             16               THE INTERPRETER: 180,000?
    17   again?                                                   17               THE WITNESS: Yes. But I do
    18               MR. BEHRE: IPostal1.                         18   not know if this is on account of the
    19               (Remainder of pending question               19   Beech Project or other projects.
    20        translated.)                                        20   BY MR. BEHRE:
    21               THE WITNESS: (Comment in Hebrew.)            21        Q.     And would the invoices tell
    22               (In English.) Which date?                    22   you whether it's Project Beech?
    23               (Translated.) Which -- which line?           23        A.     I assume so. Yes.
    24   Which date?                                              24        Q.     And do you have that invoice?
    25   //                                                       25        A.     As I said before, I will bring
                         JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC


                                                            134                                                       136


     1   BY MR. BEHRE:                                             1   them tomorrow.
     2        Q.     It is March 17th -- April. I'm                2        Q.     Because you would need to retain
     3   sorry.                                                    3   those invoices for your tax purposes; right?
     4        A.     (Comment in Hebrew.)                          4        A.     The invoices in Israel, I do
     5               THE INTERPRETER: "Kin."                       5   have to preserve them. The invoices for
     6               MR. BARET: April 20th.                        6   the United States, I have to preserve them
     7   BY MR. BEHRE:                                             7   only for two years.
     8        Q.     And April 20th too. And April                 8        Q.     And, finally, on page 62, you'll
     9   24th too.                                                 9   see there are three more wires to Fusion
    10               MR. BARET: It's like $10. 9.99.              10   GPS, 50,000 each time, three.
    11               You see it?                                  11               So $150,000 between May 29th
    12               THE WITNESS: (In English.) It                12   and May 31st; right?
    13   might be Apple Music or whatever, I think.               13        A.     Yes. Correct.
    14               (Comment in Hebrew.)                         14        Q.     Moving to June 2018, pages 64
    15   BY MR. BEHRE:                                            15   and 65, two large wires coming in from
    16        Q.     Well, could it be --                         16   Florida companies, one on June 14th
    17               THE INTERPRETER: "I don't remember."         17   for $100,000 and one on June 15th for
    18   BY MR. BEHRE:                                            18   $350,000.
    19        Q.     (Not translated.) Could it be an             19               Do you see those entries?
    20   electronic mailbox where you kept messages?              20        A.     Yes, I see.
    21        A.     (In English.) No.                            21        Q.     And then, on the next page,
    22               (Translated.) First of all, you              22   page 65, four more payments to Fusion
    23   don't pay for electronic mail. But I don't               23   GPS, 50,000 each, plus the one on the
    24   remember.                                                24   prior page on June the 5th, totaling
    25        Q.     Okay. Let's go to pages 60, 61,              25   $250,000 wired to Fusion GPS in June
                         JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC
                                                          137                                                         139
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 35 of 52
     1   of 2018; correct?                                       1        A.      As I've explained before, we had
     2        A.     Yes.                                        2   tried to open an account in Chase Manhattan.
     3        Q.     Going to July 2018, pages 66,               3   We opened actually. We didn't try. We
     4   67, 68, you'll see numerous wires out                   4   opened. And I'm guessing that this transfer
     5   to Gadot Information Services. I haven't                5   was in that direction. But -- and I don't
     6   totaled them all up. But it looks to be                 6   even recall why we hardly used that account
     7   five, six, or seven of those.                           7   at all.
     8               Do you see those, starting on               8        Q.      And if you look at the wires on
     9   May -- on July 9? I'm sorry. Starting                   9   August 2nd, August 8, August 9, August 13,
    10   on July 2nd?                                           10   again on August 13, August 20, August 21,
    11        A.     Yes, I see.                                11   August 22, they all go to SDC-Gadot.
    12        Q.     And so that's in July 2018 alone,          12        A.      I can only say, again, ask for
    13   almost a half a million dollars wired out              13   a subpoena to Chase Manhattan. And we'll
    14   of the SDC -- SDC-Gadot account to --                  14   be able to see what happened there.
    15               THE INTERPRETER: Sorry.                    15        Q.      Is the Chase Manhattan account
    16   BY MR. BEHRE:                                          16   still open?
    17        Q.     So my question is: You went                17        A.      No.
    18   through all this trouble to open the                   18                And I do not have the capacity
    19   SDC-Gadot LLC account with Citibank.                   19   to see things myself because it is no
    20   And yet you appear to be moving money                  20   longer open.
    21   just about as fast as you get it out                   21        Q.      When was that account closed?
    22   to the Israeli entity.                                 22        A.      Quite quickly -- quite quickly,
    23               Why?                                       23   I believe. I do not recall exactly. But
    24        A.     Most of the work was carried               24   I'm going to consult, of course, with --
    25   out by Gadot Israel. And as I explained                25   with my attorney. But I believe I can
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC


                                                          138                                                         140


     1   before, these accounts in the United                    1   give you permission to go into there and
     2   States were opened merely for convenience's             2   check the account.
     3   sake, which proved itself over time.                    3        Q.      And is the reason why, in this
     4               As I can see now, in July, there's          4   particular month, you attempted to move --
     5   a lot of activity that is not connected to              5   make nine wires to the Chase Manhattan
     6   Page at all, to Stuart Page.                            6   account, is the reason because Citibank
     7        Q.     Let's look at August, then.                 7   had been starting to give you difficulties
     8               Let's go to page 70 and 71.                 8   regarding your account there with Citibank?
     9               On August 8, Stuart Page wires              9        A.      Citibank had never caused any
    10   you $276,950; right?                                   10   difficulty to me in my account, with the
    11        A.     Yes. I do see it.                          11   exception of that restriction to transfers
    12        Q.     And that month, there were nine            12   of $50,000. And that is why I, in fact,
    13   wires out to Gadot.                                    13   opened the account in Chase Manhattan,
    14        A.     As I explained before, the bank            14   because this was a way of trying to
    15   restricted us to $50,000 transfers. That               15   circumvent that restriction of $50,000
    16   accounts for the numerous transfers. If                16   that -- whose result was that we had
    17   we could make a bigger transfer, we would              17   to make many transfers.
    18   have been -- we would have made it a larger            18        Q.      Isn't it true that Citibank
    19   transfer.                                              19   expressed money-laundering concerns to
    20        Q.     So looking at the second entry,            20   you about this account?
    21   on August 1st, 2018, it says:                          21        A.      No. Not in my ears.
    22               "Wire to SDC-Gadot."                       22                THE COURT REPORTER: "Years"
    23               "$50,000."                                 23   or "ears"?
    24               Did SDC-Gadot LLC have another             24                THE INTERPRETER: "Ears."
    25   account besides Citibank?                              25   "Ears." "In my ears." "Not in my ears."
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC
                                                          141                                                            143
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 36 of 52
     1   BY MR. BEHRE:                                           1          A.   Correct.
     2           Q.   Moving to November 2018, that's            2          Q.   And Stuart Page has done
     3   pages 76 and 77, I direct your attention                3   business with Dinka previously; correct?
     4   to the wire on November 20th from Page                  4          A.   Stuart Page had done business
     5   Group ME.                                               5   with Rafi Pridan previously. But I do
     6                THE COURT REPORTER: From who?              6   not know which entity of Rafi Pridan
     7   From who?                                               7   was used.
     8                MR. BEHRE: Page Group ME.                  8          Q.   And Dinka was doing work for
     9                THE WITNESS: Yes. But I still              9   Project Beech; correct?
    10   do not know if that transfer was connected             10          A.   I do not remember. Could be
    11   to Project Beech or to other projects.                 11   yes. Could be no.
    12   BY MR. BEHRE:                                          12          Q.   (Not translated.) Okay. And
    13           Q.   But the invoice would indicate            13   what about Ezekiel Golan Intellectual Pro,
    14   whether it was Project Beech; correct?                 14   there are several wires to that entity on
    15           A.   Yes. And I will bring them                15   December 12th and 13th totaling $65,000.
    16   tomorrow.                                              16               THE COURT REPORTER: She's going
    17           Q.   And since this payment in                 17   to need the name again.
    18   November was presumably for an invoice                 18               THE WITNESS: (In English.) Ezekiel
    19   in October and because, in October, you                19   Golan.
    20   attended a Cyprus meeting, some of those               20               MR. BEHRE: Ezekiel Golan Intellectual
    21   monies at least must have been related                 21   Pro.
    22   to Project Beech; right?                               22               (Pending question translated.)
    23           A.   For the Beech product -- Project,         23               THE WITNESS: (Translated.) Heskel
    24   we had a monthly retainer. So each month               24   [sic] Golan is not connected in --
    25   we received a payment. And I cannot say                25               (In English.) "Ezekiel."
                            JULY 20, 2022 - AMIT FORLIT                              JULY 20, 2022 - AMIT FORLIT
                              30(B)(6) SDC-GADOT LLC                                   30(B)(6) SDC-GADOT LLC


                                                          142                                                            144


     1   if this payment was specifically for the                1               (Translated.) Ezekiel Golan
     2   meeting in Cyprus or not.                               2   is not connected in any way whatsoever
     3           Q.   But you didn't -- you didn't               3   to Stuart Page or to the Beech Project.
     4   go to Cyprus for free; right?                           4   BY MR. BEHRE:
     5           A.   No.                                        5          Q.   What services did Ezekiel Golan
     6           Q.   Somebody paid for it; right?               6   Intellectual provide?
     7           A.   You are not here for free either.          7          A.   I am prevented from answering
     8           Q.   No.                                        8   that. This is not connected. And it is
     9           A.   (Comment in Hebrew.)                       9   under privilege.
    10                MR. BARET: It's not pro bono?             10          Q.   (Not translated.) Under privilege
    11                THE INTERPRETER: "Me neither."            11   because you were acting under the -- at
    12                THE COURT REPORTER: Pardon?               12   the direction of a lawyer?
    13                MR. BARET: No? I was shocked.             13          A.   No. Because of my agreement
    14   I'm the only one who's not getting paid                14   with Ezekiel Golan that commands a privilege.
    15   here?                                                  15          Q.   Well, I don't think that's a valid
    16                THE WITNESS: (Comment in                  16   basis not to answer.
    17   Hebrew.)                                               17          A.   I can -- I can tell you that it's
    18                THE INTERPRETER: I hope so.               18   connected to some medical development, not
    19   BY MR. BEHRE:                                          19   connected at all to these issues.
    20           Q.   All right. Directing your                 20          Q.   And directing your attention to
    21   attention to December 2018, page 79,                   21   February 2019, page 83, there's a wire on
    22   on December 10th, you wired $25,000                    22   February 19th from Page Group ME.
    23   to Dinka Analysis Services.                            23               Do you see that, for $82,455?
    24                And Dinka is owned by Raphael             24          A.   Yes. I do see.
    25   Pridan; correct?                                       25          Q.   Okay. And that was for Project
                            JULY 20, 2022 - AMIT FORLIT                              JULY 20, 2022 - AMIT FORLIT
                              30(B)(6) SDC-GADOT LLC                                   30(B)(6) SDC-GADOT LLC
                                                            145                                                            147
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 37 of 52
     1   Beech?                                                    1   round amounts. But Stuart being somewhat
     2           A.   I cannot know now. I will know               2   stingy, he always take the -- round down --
     3   tomorrow.                                                 3   commissions from me.
     4           Q.   Okay. Same question. On March                4                MR. BARET: The wire fee.
     5   20th, 2019, on page 84, you received a                    5                THE INTERPRETER: The wire transfer
     6   wire from Page Group ME for $99,950.                      6   commission.
     7                Do you see that?                             7                THE WITNESS: (In English.) You
     8           A.   Yes. The same answer.                        8   ask.
     9           Q.   And then on April 10th, as                   9   BY MR. BEHRE:
    10   reflected on page 86, another wire in                    10          Q.    And then, in July 2019, there's
    11   from Page Group ME for $99,950.                          11   a trip to Vegas. You stayed at the --
    12                Do you see that?                            12          A.    (In English.) July?
    13           A.   Yes, I see.                                 13          Q.    (Translated.) July 2019 you
    14           Q.   And then just eight days later,             14   went to the Prada store and spent $535.
    15   Page Group ME sends you another hundred --               15                (Not translated.) You -- the
    16   $131,950 on April 18th.                                  16   Montcler store --
    17                Do you see that?                            17          A.    (In English.) I bought a belt.
    18           A.   Yes.                                        18          Q.    (Not translated.) -- and spent
    19           Q.   And then in May 2019, going to              19   2,175.
    20   May the 16th and May 31st, all found on                  20                You won a bet?
    21   page 89, you receive two wires again from                21          A.    (In English.) I -- I bought
    22   Page Group ME, one for $99,950 and the                   22   a belt --
    23   other one for $249,950.                                  23          Q.    (Not translated.) Oh. "Belt."
    24                Do you see that?                            24          A.    (In English.) -- in Prada.
    25           A.   Yes.                                        25                I can bring it tomorrow.
                         JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC


                                                            146                                                            148


     1           Q.   And why all of a sudden are you              1          Q.    (Not translated.) Okay. I'll
     2   going to being paid once a month by Page                  2   try it on.
     3   to being paid twice a month?                              3          A.    (In English.) Yeah. No. You
     4           A.   It could be for several projects.            4   are much thinner.
     5   And it could be also reflecting the fact                  5          Q.    And you saw the Beetles on Broadway.
     6   that he's paying me when he's being paid.                 6   And you ate at Joel Robuchon.
     7           Q.   And that date would line up to               7                Right?
     8   a meeting you had in London about Mr. Halabi's            8          A.    "Kin."
     9   witness statement for use in the U.K. hacking             9          Q.    And then Mr. Page sends you again,
    10   case; right?                                             10   in September 2019, $196,000 minus a $50 wire
    11                MR. BARET: What -- what's the date?         11   fee on September 6th; correct?
    12   What's the date?                                         12          A.    Yes.
    13                THE WITNESS: I don't recall meeting         13          Q.    (Not translated.) What's Pandaface?
    14   Majdi Halabi in London.                                  14                THE INTERPRETER: What's?
    15   BY MR. BEHRE:                                            15   BY MR. BEHRE:
    16           Q.   (Not translated.) Okay. And then            16          Q.    What is Pandaface?
    17   in June 2019, on page 90, you receive from               17          A.    Where is it?
    18   Page $200,000 minus a five -- $50 wire fee;              18          Q.    It's on page 107.
    19   right?                                                   19                On December 26, you sent Pandaface
    20                THE INTERPRETER: 200,000, you               20   $15,000.
    21   said?                                                    21                THE COURT REPORTER: How much?
    22                MR. BEHRE: Yes.                             22                THE WITNESS: (Comment in Hebrew.)
    23                THE INTERPRETER: Okay.                      23                THE INTERPRETER: Fifteen.
    24                (Pending question translated.)              24                MR. BEHRE: 15,000. Sorry.
    25                THE WITNESS: All the amounts are            25                THE WITNESS: (In English.) "Wire
                         JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC
                                                            149                                                          151
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 38 of 52
     1   to Pandaface."                                            1        A.    No.
     2                (Translated.) I don't recall.                2              MR. BEHRE: Okay. Why don't we
     3   BY MR. BEHRE:                                             3   take a break.
     4           Q.   (Partially translated.) And then             4              THE VIDEOGRAPHER: Going off the
     5   in January, January 16th, on page 108, you                5   record at 4:43.
     6   send Pandaface another $7,500.                            6              (Recess from 4:43 p.m. to 5:02 p.m.
     7                Do you see that?                             7        Israel Daylight Time.)
     8                THE INTERPRETER: 175,000?                    8              THE VIDEOGRAPHER: Back on the record
     9                MR. BARET: 7,500.                            9   at 5:02.
    10                MR. BEHRE: 7,500.                           10   BY MR. BEHRE:
    11                (Remainder of pending question              11        Q.    Mr. Forlit, we just looked at some
    12           translated.)                                     12   of your Citibank bank records for SDC-Gadot.
    13                THE WITNESS: I -- I don't know.             13   And I want to ask you just a big picture.
    14   I think maybe -- maybe I sent someone, a                 14              You received between $200,000
    15   woman, some financial assistance.                        15   and $300,000 a month almost every month
    16   BY MR. BEHRE:                                            16   for almost five years.
    17           Q.   (Partially translated.) Okay.               17              What did you do for that money?
    18   And then, on January 27th, on page 108,                  18        A.    In my earlier answers, I more
    19   Page is sending you wires from a new                     19   or less broke down the details of the
    20   entity. It's called Page Risk Management                 20   investigation, which covered a lot of
    21   DMCC.                                                    21   jurisdictions.
    22                Do you see that entry on January            22              This whole line of questioning,
    23   27th?                                                    23   there's something unclear to me.
    24           A.   Yes.                                        24              If this whole trial is about
    25           Q.   Do you -- do you know why he                25   hacking done by -- in 2015 by Azima and
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC


                                                            150                                                          152


     1   started using a different entity to wire                  1   Stuart, the liar, is saying that I've
     2   you those funds that he says were for                     2   been hacking from 2017 until 2020, how --
     3   hacking?                                                  3   how does that have anything to do with
     4           A.   No. No idea.                                 4   hacking that happened in 2015?
     5           Q.   And that's the same entity that              5              (Comment in Hebrew.)
     6   sent you $222,435 on March 23rd on page                   6              THE INTERPRETER: (Comment in
     7   112.                                                      7   Hebrew.)
     8                Do you see that?                             8   BY MR. BEHRE:
     9           A.   Yes. I see that the commissions              9        Q.    (Partially translated.) My --
    10   are getting larger.                                      10   my question was: What did you do to earn
    11           Q.   And --                                      11   two hundred to $300,000 a month for five
    12           A.   Now it's $65 instead of $50.                12   years?
    13           Q.   Now, a payment in March of 2020             13        A.    (Comment in Hebrew.)
    14   would be for work you did in February.                   14              MR. BARET: Just for the record,
    15                And February is when Mr. Azima's            15   three years. The -- the company opened in
    16   trial occurred in the U.K.; correct?                     16   2017 and to -- to 2020; right?
    17           A.   I didn't do anything regarding              17              THE WITNESS: So we carried out
    18   the trial in England. And this -- the                    18   investigations. And in the three years
    19   money, the payment is for Project Beech,                 19   of the company's activities, we investigated
    20   which continued.                                         20   a large number of violations of the sanctions
    21           Q.   Were you in London in late February         21   on Iran, a lot of money-laundering done
    22   and early March?                                         22   through Lebanon --
    23           A.   I'd have to check. I don't recall.          23              (Comment in Hebrew.)
    24           Q.   Have you ever been to the Royal             24              THE INTERPRETER: You -- you
    25   Automotive Club?                                         25   mean embezzling? Or money disappearing?
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC
                                                           153                                                        155
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 39 of 52
     1   Misappropriation of funds?                               1        Q.     And do you recall ever attaching
     2              THE WITNESS: And monies that                  2   copies of confidential e-mails, for example,
     3   disappeared from the company in -- in                    3   between Mr. Azima and his lawyers to your
     4   Saudi Arabia.                                            4   reports?
     5              We managed to locate Khater                   5        A.     I don't recall.
     6   Massaad in Saudi Arabia and the authorities --           6        Q.     And do you recall ever excerpting
     7   and get the authorities to arrest him. We                7   and embedding into your reports confidential
     8   had a regular source that visited him once               8   e-mails belonging to others?
     9   a month in Saudi Arabia.                                 9        A.     I don't recall. And everything
    10              We investigated financial offenses           10   that appears in the reports were materials
    11   in Sri Lanka and in Switzerland.                        11   that were presented legally.
    12              We investigated transactions in              12        Q.     And what types of materials did
    13   Georgia.                                                13   Mr. Page provide to you, as you indicated
    14              THE INTERPRETER: Georgia, not                14   a few moments ago?
    15   the U.S., the country.                                  15               MR. BARET: I'm -- I'm sorry.
    16              THE WITNESS: And that's just                 16               Just for the -- when -- when
    17   what I can recall off the top of my head.               17   counsel's referring to "you," who are you
    18   BY MR. BEHRE:                                           18   referring to? Amit Forlit individually?
    19        Q.    And when you say you investigated            19               MR. BEHRE: Yes. As paid by --
    20   transactions, are you referring to transactions         20   for services by SDC-Gadot.
    21   in bank records?                                        21               MR. BARET: Right. But --
    22        A.    We got a lot of information that             22               THE WITNESS: Amit Forlit did
    23   had its source in the customer's servers,               23   not receive money from SDC-Gadot. Gadot
    24   computer servers. And a lot of the                      24   Israel received money from SDC. And I
    25   information Stuart Page brought from his                25   was a representative of SDC-Gadot.
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC


                                                           154                                                        156


     1   own sources. We interviewed a lot of people.             1               And Page provided materials.
     2   And that wasn't even one of the company's                2   He had his sources. Maybe some of his
     3   larger cases.                                            3   clients and other sources. I don't know.
     4        Q.    When you say the customer's                   4   BY MR. BEHRE:
     5   computer servers, are you talking about                  5        Q.     What types of materials did
     6   Rakia's computer servers?                                6   Mr. Page provide?
     7        A.    Sometimes yes. There was a lot                7        A.     A list of companies, a list
     8   of data that we got from servers in the                  8   of contacts of people who were involved,
     9   free zone of RAK. And a lot of materials --              9   legal -- legal cases that he -- that were
    10   yes, the customer gave us a lot of materials.           10   taken from various places.
    11        Q.    And some of those materials                  11        Q.     Did he ever provide you with
    12   included bank records that were confidential;           12   confidential e-mails or financial data
    13   correct?                                                13   belonging to others to which he wasn't
    14        A.    I don't recall.                              14   entitled to have?
    15        Q.    To the best of your recollection,            15        A.     I don't think so.
    16   did you ever have access to bank records                16        Q.     Now, regarding Mr. Halabi's
    17   for any of the people that were being                   17   testimony, as rehearsed in Switzerland,
    18   investigated or any of the entities                     18   why was it decided that Halabi would
    19   that were being investigated?                           19   claim to have found the data on the
    20        A.    I don't recall precisely.                    20   Internet?
    21   It's possible.                                          21        A.     I don't remember who or why it
    22        Q.    Do you recall ever attaching                 22   was decided that Halabi would be the one
    23   confidential bank records to any of the                 23   to tell this or to -- to relate this.
    24   reports that you prepared?                              24               And to this day, we -- I don't
    25        A.    I don't recall.                              25   know who in Halabi's firm found these links.
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC
                                                            157                                                         159
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 40 of 52
     1                (Comment in Hebrew.)                         1        A.     I read Halabi's affidavit.
     2                THE INTERPRETER: Oh. "Office."               2   He says we had at least four meetings
     3                THE WITNESS: Halabi was -- not               3   to coordinate this thing, including
     4   his firm. He was part of the office.                      4   visits in London to a number of places,
     5                And everybody in the office learned          5   including in Cyprus. And I can say
     6   about the leak quite quickly, because --                  6   unequivocally that he is lying.
     7   because, you know, when there are people                  7               And, in Israel, there's no
     8   involved in the investigation, you can                    8   way to leave or come back into the
     9   just put in a -- a Google alert. And you                  9   country without having some record of
    10   don't have to actually look for it. It                   10   it at the -- by the borders authority.
    11   just pops up.                                            11               And I can state that, on the
    12                The reason that it was Halabi               12   dates that he says I met with him in
    13   that testified to this was because he would              13   London and in Cyprus, I was in Israel.
    14   not be identified as an Israeli investigator.            14   I can only guess why he's lying.
    15   He was known as a journalist who wrote for               15        Q.     Well, with regard to his
    16   local newspapers in the Emirates. And he                 16   admission, his confession that he lied
    17   volunteered. And this pleased the client,                17   in court about finding the link, you
    18   the customer. And -- and Halabi said that                18   don't know of any reason why he would
    19   he told Stuart this and that wasn't a lie.               19   lie about that, do you?
    20   And that didn't embarrass the customer.                  20        A.     I -- I don't think he lied to
    21   BY MR. BEHRE:                                            21   the Court. But as far as his affidavit
    22           Q.   But Halabi is Israeli; right?               22   is concerned, it's riddled with lies.
    23           A.   Halabi is an Israeli Druze, who             23               And I -- I can't say right now
    24   has an Arab name. Arab -- his name sounds                24   exactly what. But I can say that, on the
    25   Arab.                                                    25   dates that he says I was in London or in
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC


                                                            158                                                         160


     1                So there's a difference between              1   Cyprus, I can say for a fact that I wasn't.
     2   coming with a name like mine or a typical                 2        Q.     And I'm just focusing on the
     3   Israeli name or having a name like Majdi                  3   fact that Halabi now confesses that he
     4   Halabi, which is a very common name in                    4   lied to the Court about finding the links.
     5   Syria, Iraq, in fact, the whole Middle                    5               And you have no reason to
     6   East.                                                     6   believe that that confession was itself
     7           Q.   Why was it so important not to               7   a lie, because why would somebody confess
     8   focus on the nationality of the speaker?                  8   to the crime of misleading a Court and
     9           A.   At the time, Israel didn't have              9   perjury if they hadn't done it?
    10   diplomatic relations with the UAE. And                   10        A.     If a client -- if I have a client
    11   according to what Stuart said, it was very               11   that would ask me to investigate why he was
    12   worrying to the client that it might be --               12   lying, then I'll investigate. But I don't
    13   become known that he was using an Israeli                13   know why.
    14   contractor. He thought at that time that                 14        Q.     Now, you testified earlier that
    15   his enemies would use this information                   15   you're involved in private investigation;
    16   to topple him.                                           16   correct?
    17           Q.   And Halabi didn't really find               17        A.     Yes.
    18   the links, did he?                                       18        Q.     And you don't provide IT services,
    19           A.   I don't know. As I said -- as               19   do you?
    20   I said, it popped up for everyone. And                   20        A.     I provide a security envelope
    21   you didn't need to be an analyst with a                  21   for computers, not necessarily IT, not
    22   Harvard education to figure it out.                      22   what you call IT.
    23           Q.   But Halabi now says that was                23               We've, for example, developed
    24   all a lie.                                               24   a telephone that can't be tapped into and
    25                You're aware of that; right?                25   all kinds of technological developments.
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC
                                                        161                                                          163
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 41 of 52
     1        Q.   (Not translated.) But with regard           1        A.      Not correct.
     2   to Project Beech, you didn't provide any IT           2                First of all, I mentioned that
     3   security other than the open-ended e-mail             3   sometimes we had problems with money
     4   system where you put the reports; right?              4   transfers and that we sometimes made all
     5        A.   I did provide -- in Project Beech,          5   sorts of engagements in order to resolve
     6   I actually did provide consultation services          6   that problem.
     7   regarding communication security.                     7                Second, I do not -- do not see
     8        Q.   But that was a very small part              8   here any signature of mine or anyone on
     9   of what you did for Project Beech; right?             9   my behalf.
    10        A.   It was part. I can't define it             10                And, thirdly, once I finish
    11   as big or small.                                     11   reading this -- I'm in the process of
    12        Q.   (Not translated.) But several              12   reading it -- perhaps I will understand
    13   times today, I've asked you what you did             13   what this is connected to. Because it
    14   for the two or $300,000.                             14   definitely is not connected to the Beech
    15             And you never mentioned that               15   Project.
    16   service; right?                                      16        Q.      Okay. Well, take your time to
    17             You just talked about doing                17   read it, then.
    18   these investigations in all these                    18        A.      (Examining.) I do not see here
    19   different countries.                                 19   any connection neither to SDC-Gadot nor
    20             But you never once mentioned               20   to the Beech Project. And I do not see
    21   IT security, did you?                                21   any signature of Gadot on this document.
    22        A.   It's much easier to describe               22                MR. BARET: Just for the record,
    23   what happens in an investigation than                23   this -- the -- this agreement is prior to
    24   to -- than to explain IT security. But               24   the creation of Gadot SDC, which is about
    25   we did do it.                                        25   a year and change --
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC


                                                        162                                                          164


     1        Q.   But much of what you did for                1                MR. BEHRE: Correct.
     2   Project Beech was not IT security; right?             2                MR. BARET: -- a year -- a year
     3        A.   I can't exactly tell you what               3   and a half probably before.
     4   proportion. But it was part of the scope              4   BY MR. BEHRE:
     5   of work. And I wouldn't call it IT security           5        Q.      So it's -- you don't recall seeing
     6   in any case. It was more security protocols           6   this before?
     7   for computer, communications, and transfers.          7        A.      No.
     8             (Exhibit 5 marked.)                         8        Q.      You don't recall signing it?
     9   BY MR. BEHRE:                                         9        A.      I am not a signatory to this
    10        Q.   (Not translated.) Okay. I'd                10   document.
    11   like to show you what we've marked as                11        Q.      Okay. And its -- its content
    12   Exhibit No. 5, which is a letter of                  12   is inaccurate, isn't it?
    13   engagement between you, on behalf of                 13        A.      The content could be accurate,
    14   Gadot Information Services, and Page                 14   because we are engaged in such projects.
    15   Group Limited.                                       15                But this does not refer neither
    16             Previously you testified that              16   to the dates of the U.S. companies nor to
    17   there was no written agreement between               17   the Beech Project. As I said before, we
    18   you and Mr. Page; correct?                           18   did other things for Stuart Page as well.
    19        A.   (In English.) Correct.                     19        Q.      Well, this one provides for
    20             (Last question translated.)                20   almost two years of payments, the monthly
    21             THE WITNESS: Correct.                      21   amount to be a hundred and fifty to 200,000
    22   BY MR. BEHRE:                                        22   pounds, which equates to two hundred to two
    23        Q.   So your testimony previously               23   fifty [sic] U.S. dollars per month; right?
    24   that there was no written agreement is               24        A.      This is what is written here.
    25   inaccurate; correct?                                 25   But to the best of my recollection, these
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC
                                                           165                                                          167
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 42 of 52
     1   are not the amounts that we received from                1   "beach."
     2   Stuart Page to Gadot.                                    2        Q.    But other than the spelling mistake,
     3               And I repeat again, this has no              3   they all concern Project Beech; right?
     4   connection whatsoever to SDC-Gadot or to                 4        A.    Correct.
     5   Project Beech.                                           5        Q.    And the first two invoices state,
     6        Q.     Well, it refers, in the second               6   in the second line of the "Description,"
     7   paragraph, to IT services for Page Group's               7   "according to agreement"; correct?
     8   United Arab Emirates and Iraq clients.                   8        A.    Yes. Correct.
     9               Page Group's United Arab Emirates            9        Q.    What agreement is that?
    10   client was RAK and the ruler of RAK, the                10        A.    We would usually add this
    11   boss; right?                                            11   particular sentence because that would
    12        A.     RAK was not Stuart Page's only              12   make the bank pay more easily.
    13   client in the Emirates.                                 13        Q.    So that would mislead the bank
    14        Q.     And you indicated that the                  14   into thinking there was an agreement when
    15   reason SDC-Gadot was created was because                15   there wasn't an agreement; correct?
    16   of difficulty that Mr. Page was experiencing            16        A.    There was no written agreement.
    17   in wiring money to Gadot Information                    17   But even an oral agreement is an agreement.
    18   Services; right?                                        18        Q.    Were these invoices provided to
    19        A.     When he was trying to transfer              19   the bank in the case of the first invoice
    20   funds from Dubai to Gadot Information                   20   to JP Morgan Chase?
    21   Services. When he was transferring                      21        A.    I don't recall. It could be.
    22   from London, there was no problem.                      22   But -- I don't recall. It could be. But
    23               (Exhibit 6 marked.)                         23   I don't think that we supplied invoices
    24   BY MR. BEHRE:                                           24   to the American bank.
    25        Q.     I'd like to next show you what's            25        Q.    What bank were you providing
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC


                                                           166                                                          168


     1   been marked as Exhibit No. 6. And this                   1   invoices to?
     2   consists of seven invoices from SDC-Gadot                2        A.    Normally to the Israeli bank.
     3   LLC to Page Group.                                       3        Q.    And I note, in the first two
     4        A.     (Examining.) So I don't need                 4   invoices, that the address provided for
     5   to bring them tomorrow?                                  5   SDC-Gadot in Miami Beach is not the same
     6        Q.     This might not be all of them.               6   as the one that is contained in your
     7        A.     May I keep this to compare?                  7   corporate records, is it?
     8               MR. BARET: Yeah. That's yours.               8        A.    I have to check that. I have
     9               MR. BEHRE: No. That's the court              9   no answer right now why is it so.
    10   reporter's.                                             10        Q.    Whose address is 3200 Collins
    11               MR. BARET: No, no.                          11   Avenue, as indicated in the two invoices?
    12               MR. BEHRE: But you -- that's yours.         12        A.    I think -- I think -- I seem to
    13               MR. BARET: We have. We have.                13   remember that we may have rented, in the
    14               THE WITNESS: (In English.) Okay.            14   beginning, a physical mailbox. But it's
    15               (Translated.) So what's the                 15   not something that I remember precisely.
    16   question?                                               16        Q.    So the first invoice in Exhibit
    17   BY MR. BEHRE:                                           17   6 is numbered Invoice 1019.
    18        Q.     Do you recognize these invoices?            18              Do you see that?
    19   Are they issued by SDC-Gadot, as indicated?             19        A.    Yes.
    20        A.     Yes.                                        20        Q.    The second -- the second invoice
    21        Q.     And you'll note that each one of            21   is numbered Invoice 1024. And that -- and
    22   these invoices, in the "Description" area               22   it's dated May 14, 2019.
    23   says the payment requested is for Project               23              Whereas, the first invoice is
    24   Beech; correct?                                         24   dated November 6, 2018; correct?
    25        A.     Yes. With a spelling mistake in             25        A.    Yes.
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC
                                                          169                                                            171
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 43 of 52
     1         Q.   So it would appear, between                  1   two pertaining to Beech.
     2   November 18th -- November 2018 and May                  2           Q.   (Partially translated.) Okay.
     3   2019, there were only four other invoices               3   On the third invoice, the third page of
     4   that were issued by SDC-Gadot in six months;            4   the Exhibit 6, it looks like SDC-Gadot
     5   correct?                                                5   has gone deluxe and they have their own
     6         A.   It is apparently correct. I                  6   stamp; is that right?
     7   have to check. It is also possible that                 7                THE INTERPRETER: They've gone
     8   the collection of funds due for the project             8   to?
     9   was done for Insight.                                   9                MR. BARET: They're what?
    10              I can see that the 1024 was issued          10                THE INTERPRETER: They've gone
    11   twice to JP Morgan and to Citibank as well.            11   to?
    12   It would seem that we did not succeed in               12                MR. BEHRE: They have their own
    13   operating the account correctly at JP Morgan           13   stamp.
    14   and that is why we -- we did it in Citibank.           14                THE COURT REPORTER: "Gone deluxe."
    15   It's the same number.                                  15                THE INTERPRETER: Hmm?
    16         Q.   And you're referring to the third           16                THE COURT REPORTER: "Deluxe."
    17   invoice dated May 14th, 2019, on the third             17   "Deluxe." "Deluxe."
    18   page of the Exhibit 6; right?                          18                MR. BARET: "Deluxe." Oh, okay.
    19         A.   Yes.                                        19                THE INTERPRETER: Okay.
    20         Q.   And that particular invoice looks           20                (Pending question fully translated.)
    21   like it's been cut and pasted. If you look             21                THE WITNESS: Look at the amounts
    22   at the -- the area right below the line at             22   that we started receiving.
    23   the top of the page, that clearly was cut              23                MR. BARET: So it has a New York,
    24   and pasted from some other document and                24   New York.
    25   placed on this.                                        25   //
                       JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                         30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC


                                                          170                                                            172


     1         A.   To me -- to me it seems that                 1   BY MR. BEHRE:
     2   we simply started using another software                2           Q.   And who -- who obtained that stamp?
     3   for issuing invoices. But since I did not               3           A.   I believe we probably bought it
     4   supply it, I -- I don't know who supplied               4   in some shop.
     5   it.                                                     5           Q.   And why is it only used on that
     6         Q.   Let me just go back to the invoice           6   one particular invoice, if you know?
     7   numbers again.                                          7           A.   Perhaps we lost it afterwards.
     8              In November 2018, you're on Invoice          8   I really don't know.
     9   1019. In May 2019, six months later, you're             9           Q.   Do you have any other invoices
    10   only on Invoice 1024.                                  10   besides the ones you've seen here?
    11              That means SD -- SDC-Gadot only             11           A.   Tomorrow. I have to check.
    12   issued four invoices between those two in              12   I have nothing on me here.
    13   six months; right?                                     13                MR. BARET: I should have been
    14         A.   If you give me a minute, I'll               14   a doctor. I should have been a doctor.
    15   go over it. I'll see all the entries                   15                (Exhibit 7 marked.)
    16   from the bank.                                         16   BY MR. BEHRE:
    17              (Examining.) Yes. There are                 17           Q.   I'm showing you next -- showing
    18   very few entries indeed.                               18   you next more Gadot invoices. It appears
    19         Q.   Meaning that SDC-Gadot didn't               19   to be 18 in number. And these are 18
    20   issue many invoices that weren't related               20   invoices issued in 2016 through August
    21   to Project Beech; correct?                             21   2017.
    22         A.   Are you talking about the entire            22           A.   In August 2016 to August 2017,
    23   period or only about these four months?                23   the U.S. companies were not set up yet.
    24         Q.   It's six months. But yes.                   24           Q.   Correct.
    25         A.   Out of five invoices, there are             25                But I'm directing your attention
                       JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                         30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC
                                                          173                                                          175
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 44 of 52
     1   to the "Description" line where we just                 1   no.
     2   looked at a draft contract that you said                2         Q.     We talked earlier about Avi,
     3   you didn't recall. And yet these invoices               3   who's pled guilty in New York to hacking;
     4   all say:                                                4   correct?
     5                "IT security services Beech                5         A.     Correct.
     6   Project."                                               6         Q.     And in your case in Florida,
     7                Do you see that?                           7   you filed some text messages between
     8           A.   (Examining.) Yes.                          8   you and Stuart Page in that case.
     9           Q.   And come 2017, the difficulties            9                Do you remember that?
    10   you were having with getting wire transfers            10         A.     You mean about Avi's case?
    11   caused these to stop and you to use SDC-Gadot;         11         Q.     (Not translated.) Well, I'm
    12   correct?                                               12   asking about a series of text message
    13           A.   No. The transfers by Stuart from          13   exchanges between you and Stuart Page.
    14   Dubai to Israel were not possible.                     14                Do you remember that was attached
    15           Q.   (Partially translated.) Well, the         15   to your filing in the U.S. District Court
    16   Stuart company is Page Protective Services.            16   in Florida?
    17                And they have an address in Hong          17         A.     But it's not connected to Avi.
    18   Kong; right?                                           18                (Exhibit 8 marked.)
    19           A.   To the best of my understanding,          19   BY MR. BEHRE:
    20   we had agreed that we would focus on the               20         Q.     Okay. Well, let -- let me show
    21   U.S. companies. And because you came                   21   it to you.
    22   all the way from the United States, I                  22                I'm going to show you Exhibit 5
    23   was happy to expand and give you some                  23   to your motion for protective order. And
    24   further information beyond what we had                 24   it's -- and it's -- it was filed electronically
    25   originally agreed upon.                                25   in U.S. District Court in Florida on June
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC


                                                          174                                                          176


     1                We are -- are in the midst of a            1   14th, 2022. And it's Document 26-5. It
     2   procedure vis-a-vis the Court to determine              2   was filed by you through your counsel.
     3   what can be asked and what cannot be asked.             3         A.     Okay. (Examining.)
     4   And these questions relate to Gadot Israel.             4         Q.     You had a chance to look at that?
     5           Q.   (Not translated.) What is Project          5         A.     Yes.
     6   Silk?                                                   6         Q.     Directing your attention to the
     7                THE COURT REPORTER: Project?               7   last page of the e-mail exchange.
     8   BY MR. BEHRE:                                           8                MR. BARET: WhatsApp. WhatsApp.
     9           Q.   (Not translated.) What is Project          9                MR. BEHRE: I'm sorry?
    10   Silk?                                                  10                MR. BARET: I think it's, like,
    11                THE INTERPRETER: "Silk"?                  11   a WhatsApp.
    12                MR. BEHRE: Like the fabric.               12                MR. BEHRE: WhatsApp. I'm sorry.
    13                (Pending question translated.)            13   BY MR. BEHRE:
    14                THE WITNESS: Another project              14         Q.     Is this WhatsApp?
    15   which is not connected to the -- to the                15         A.     (In English.) Yeah.
    16   client.                                                16                (Translated.) Yes.
    17   BY MR. BEHRE:                                          17         Q.     And you recently pulled this off
    18           Q.   Does it involve Khater Massaad?           18   of your WhatsApp so your lawyer could file
    19           A.   If the truth be told, I do not            19   it in court; right?
    20   remember fully. But generally speaking,                20         A.     It wasn't recent. I -- I had
    21   everything that was related to Khater                  21   saved it in the past as a picture.
    22   Massaad went into the Beech Project.                   22         Q.     And have you saved any other
    23           Q.   But Project Silk might have               23   WhatsApps between you and Stuart Page?
    24   involved Khater Massaad?                               24         A.     I have to scan and see.
    25           A.   To the best of my recollection,           25         Q.     Okay. And will you do that?
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC
                                                          177                                                        179
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 45 of 52
     1        A.      Yes.                                       1   translation on that, did he?
     2        Q.      On the last page, you indicate --          2             (Last question translated.)
     3   and this is part of your -- the carry-over              3             THE WITNESS: First and foremost,
     4   statement:                                              4   the person who was arrested was Aviram and
     5                "As you know, I'm not really               5   not Avi. And, second, there's no connection.
     6   in the business since what happened"                    6             And, thirdly, I'm corresponding
     7   to "Avi." (As read.)                                    7   here with a person who is libeling me.
     8                What did you mean by that?                 8   So what do you expect?
     9        A.      In my -- my meaning was that               9   BY MR. BEHRE:
    10   it's a -- it's a date that we are both                 10        Q.   (Not translated.) Would it
    11   familiar with. It's a date that indicates              11   surprise you if Stuart Page was certain
    12   more or less when the activity in Israel               12   you were talking about the Avi who's
    13   went down. But it went down mostly because             13   arrested for hacking?
    14   of COVID.                                              14             MR. BARET: You don't have
    15                Besides, what happened to Avi,            15   to talk about this.
    16   in my opinion, it's some type of miscarriage           16             He doesn't need to --
    17   of justice. But it is not connected to --              17             MR. BEHRE: Why not?
    18   to this.                                               18             MR. BARET: -- address this.
    19        Q.      Well, what happened to Avi is             19             MR. BEHRE: What's that?
    20   Avi got arrested; right?                               20             MR. BARET: Again, this was
    21        A.      I don't even recall if I meant            21   provided to the Court with a motion for
    22   this Avi when I'm saying "Avi" here,                   22   protective order not to depose Amit Forlit
    23   because the other guy is Aviram, not                   23   in his personal capacity. It's got nothing
    24   Avi. So I'm not even sure that I'm                     24   to do with SDC-Gadot.
    25   referring to the same person.                          25             Again, you are confusing two --
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC


                                                          178                                                        180


     1                (Comment in Hebrew.)                       1   two different filings. This -- this was
     2                MR. BARET: You don't have to               2   filed with a motion for protective order.
     3   talk about that.                                        3   And you are bypassing our request for
     4                THE INTERPRETER: "Furthermore,             4   protection order.
     5   my correspondence here -- here with Stuart              5             MR. BEHRE: No. It was. It
     6   is -- well, never mind."                                6   was filed in Federal Court.
     7   BY MR. BEHRE:                                           7             MR. BARET: Correct.
     8        Q.      (Not translated.) Well, the                8             MR. BEHRE: It was filed on
     9   "I'm not really in the business since                   9   PACER via electronic --
    10   what happened to Avi," Avi was arrested                10             MR. BARET: Correct.
    11   and charged with hacking. Avi's pled                   11             MR. BEHRE: -- means.
    12   guilty and confessed to hacking. And he                12             MR. BARET: For the purpose of --
    13   was in the business of hacking.                        13             MR. BEHRE: And it's -- it's --
    14                And the business you're referring         14   it's arguably a statement about his business,
    15   to is hacking, isn't it?                               15   which is the same as Avi's, which is hacking.
    16        A.      (In English.) No.                         16             MR. BARET: He's -- he's --
    17                THE COURT REPORTER: You said              17             MR. BEHRE: Now --
    18   "yeah"? "No"?                                          18             MR. BARET: He answered that.
    19                THE INTERPRETER: "No."                    19             MR. BEHRE: -- if you want to --
    20                THE WITNESS: (In English.) "No."          20   if you want to say that that's not something
    21                THE INTERPRETER: He said "no."            21   we can reach, you can say it.
    22                THE COURT REPORTER: Okay. Let             22             MR. BARET: I'm saying it.
    23   her translate.                                         23             MR. BEHRE: But it's going to
    24                THE INTERPRETER: Okay.                    24   be an -- okay. Then you've instructed
    25                MR. BEHRE: He didn't need a               25   him not to answer; right?
                         JULY 20, 2022 - AMIT FORLIT                                 JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                      30(B)(6) SDC-GADOT LLC
                                                             181                                                            183
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 46 of 52
     1                MR. BARET: I'm instructing                    1   record at 6:03.
     2   him not to talk about this, because this                   2                (Recess from 6:03 p.m. to 6:12 p.m.
     3   is -- relates directly to his motion for                   3           Israel Daylight Time.)
     4   protective order not to be deposed in his --               4                THE VIDEOGRAPHER: Back on record
     5                MR. BEHRE: Well, he --                        5   at 6:12.
     6                MR. BARET: -- personal --                     6   BY MR. BEHRE:
     7                MR. BEHRE: -- opened --                       7           Q.   (Not translated.) Mr. Forlit,
     8                MR. BARET: -- capacity.                       8   you indicated you might have some documents.
     9                MR. BEHRE: -- the door -- he                  9                Just so we're clear, do you have
    10   opened the door to this. And if you want                  10   any copies of the project updates left?
    11   this to go before the judge in Florida, we                11           A.   (In English.) No.
    12   can do that. But, you know -- you know how                12                (Exhibit 10 marked.)
    13   that judge has already started to view him.               13   BY MR. BEHRE:
    14   So if you want --                                         14           Q.   I'd like to show you what we're
    15                MR. BARET: Because --                        15   going to mark as Exhibit No. 10. It's --
    16                MR. BEHRE: -- to instruct him not            16   it's labeled or titled:
    17   to answer, you -- you -- be my -- if -- if                17                "Project Beech Report - Farhad
    18   that's your instruction, you go ahead.                    18   Azima."
    19                MR. BARET: He answered. But I                19           A.   (Examining.)
    20   think this line of questioning is inappropriate           20                MR. BARET: Looks good for his
    21   for the purpose of this deposition.                       21   age, actually.
    22                MR. BEHRE: Okay. I'll move on.               22                MR. BEHRE: What?
    23   And we can raise it with the Court. Okay?                 23                MR. BARET: He looks good for
    24                (Exhibit 9 marked.)                          24   his age.
    25   //                                                        25   //
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC


                                                             182                                                            184


     1   BY MR. BEHRE:                                              1   BY MR. BEHRE:
     2           Q.   I'm showing you next what we're               2           Q.   Have you had a chance to look
     3   marking as Exhibit 9. It's a September 7,                  3   at that report?
     4   2019, e-mail from your banker at Citi.                     4           A.   Yes.
     5   His name is Mario Ros, R-o-s. And it's                     5           Q.   And this is one of the Project
     6   regarding your account with Citi.                          6   Beech reports, isn't it?
     7           A.   (Examining.)                                  7           A.   I can't tell. I did not keep
     8           Q.   Do you recognize that exhibit?                8   it.
     9           A.   Yes. But I do not remember this               9           Q.   Well, you were involved in its
    10   mail.                                                     10   authorship, weren't you?
    11           Q.   And Mr. Ros at Citibank is e-mailing         11           A.   This is -- this is dated four --
    12   you because at least he believes you're the               12   August 4, 2015 -- 2015. It's, like, seven
    13   person responsible for that bank account                  13   years. And I -- we have not kept any record.
    14   that we talked about earlier today; right?                14   We have destroyed everything. So I can't
    15           A.   He's trying to sell some banking             15   tell.
    16   service.                                                  16           Q.   Well, at 11:24 this morning, you
    17                MR. BEHRE: Okay. Why don't we                17   stated as follows:
    18   take a quick break.                                       18                "I have never investigated Farhas --
    19                THE WITNESS: (Comment in Hebrew.)            19   Farhad Azima. The investigation was of
    20                MR. BARET: I think we're done                20   Dr. Khater Massaad."
    21   with our -- today. It was set for -- from                 21           A.   Correct.
    22   11:00 to 6:00.                                            22           Q.   And this report starts and states
    23                MR. BEHRE: 7:00.                             23   as follows:
    24                MR. BARET: Till 7:00?                        24                "The following document presents
    25                THE VIDEOGRAPHER: Going off the              25   a full intelligence report on Farhad Azima."
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC
                                                             185                                                           187
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 47 of 52
     1                And he's -- and he's given the                1              "I have never investigated Farhad
     2   nickname of "the Generator"; right?                        2   Azima," period.
     3                The second line.                              3              MR. BARET: True. And he said --
     4        A.      I say, once again, I do not know              4              MR. BEHRE: This --
     5   who wrote this report.                                     5              MR. BARET: And he --
     6        Q.      And the third line states -- and              6              MR. BEHRE: -- report establishes
     7   I'll quote:                                                7   that not only did they investigate Farhad
     8                "The main effort is placed in                 8   Azima --
     9   order to assist the client in taking the                   9              MR. BARET: Who's "they"?
    10   generator out of the dispute between KM                   10              MR. BEHRE: -- they targeted him.
    11   and the client."                                          11              MR. BARET: Who's "they"?
    12                End quote.                                   12              MR. BEHRE: This report was written
    13                (Brief telephone interruption.)              13   by your client.
    14   BY MR. BEHRE:                                             14              MR. BARET: He's -- he's saying he
    15        Q.      So this report talks about taking            15   didn't write it.
    16   out Farhad Azima, doesn't it?                             16              MR. BEHRE: He can say that. But
    17        A.      I did not go through it thoroughly           17   I can ask him about it.
    18   right now. It's possible that there is                    18              MR. BARET: But he already answered --
    19   a report. But I'm saying again, I do not                  19              MR. BEHRE: He can --
    20   know who wrote this report.                               20              MR. BARET: -- it.
    21        Q.      Well, let me direct your attention           21              MR. BEHRE: -- deny it under oath,
    22   to a few things.                                          22   if he'd like.
    23                Look at page 3. There's a --                 23              MR. BARET: He just did.
    24                MR. BARET: Again, same objection             24              MR. BEHRE: But that doesn't prevent
    25   as before.                                                25   me from asking the questions.
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC


                                                             186                                                           188


     1                He answered some questions regarding          1              MR. BARET: It -- it does, because --
     2   this report. He said he didn't write it or                 2              MR. BEHRE: So if you want to -- if
     3   know whose write it. [sic] It's -- again,                  3   you want to instruct him not to answer, we'll
     4   it's not SDC-Gadot. It's two years before                  4   do this some more.
     5   the cooperation of which has been represented              5              Is that what -- are you instructing
     6   today was created.                                         6   him --
     7                If you get a chance to depose --              7              MR. BARET: I'm --
     8                MR. BEHRE: His --                             8              MR. BEHRE: -- not to answer?
     9                MR. BARET: -- him on a personal               9              MR. BARET: I'm saying that it's
    10   level, then we can go back --                             10   not the subject of today's deposition.
    11                MR. BEHRE: He opened the door.               11              MR. BEHRE: It is --
    12   He opened the door to this by saying:                     12              MR. BARET: It's not --
    13   I never --                                                13              MR. BEHRE: -- because --
    14                MR. BARET: SDC --                            14              MR. BARET: -- the subject --
    15                MR. BEHRE: -- investigated --                15              MR. BEHRE: Let me tell you why
    16                MR. BARET: -- Gadot -- SDC --                16   it is.
    17                MR. BEHRE: Hold on.                          17              Because he opened the door to it.
    18                MR. BARET: -- Gadot --                       18   By saying he didn't investigate Farhad Azima,
    19                MR. BEHRE: No, no, no.                       19   he can be impeached with his own report --
    20                MR. BARET: -- didn't open --                 20              MR. BARET: But that's not his
    21                MR. BEHRE: No.                               21   report.
    22                MR. BARET: -- the door. It's                 22              MR. BEHRE: -- that proves that
    23   SDC-Gadot.                                                23   he lied earlier today about investigating
    24                MR. BEHRE: Let me read you the               24   Farhad Azima.
    25   quote.                                                    25              MR. BARET: That's what you're
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC
                                                          189                                                           191
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 48 of 52
     1   saying. He's saying --                                  1           Q.   And if you look at page 12 and
     2             MR. BEHRE: I -- it is --                      2   13, there's extracts of financial data
     3             MR. BARET: -- he didn't write --              3   regarding business opportunities that
     4             MR. BEHRE: -- what I'm saying.                4   the, quote, "Generator," was involved
     5             MR. BARET: -- this -- but he's                5   in.
     6   saying he didn't write this report.                     6                And the same on page 14 and
     7             Do you have any --                            7   15 and 16, all stolen financial data.
     8             MR. BEHRE: Well, he can --                    8   And then on page 18, there's another
     9             MR. BARET: -- proof --                        9   stolen passport.
    10             MR. BEHRE: -- he can say --                  10                And then on page 21, another
    11             MR. BARET: -- that he wrote                  11   stolen passport. And 22, another stolen
    12   this report?                                           12   passport. And 24, another stolen passport
    13             MR. BEHRE: -- that all he wants.             13   and a driver's license.
    14             MR. BARET: He just did.                      14                And then on page 27, extracts
    15             MR. BEHRE: But I can examine,                15   of his stolen e-mails, from Farhad Azima.
    16   because it's a deposition.                             16                Do you see that stolen e-mail
    17             If you want to instruct him not              17   that's embedded in this report?
    18   to answer, be my guest. And we'll do this              18           A.   Yes.
    19   all again. And we will seek costs for                  19           Q.   More stolen e-mails on 30 -- page
    20   this entire trip.                                      20   30 and 31 and 32 and 33.
    21             MR. BARET: All I'm saying is                 21                Where did these e-mails come from?
    22   that he answered it, that he said he's --              22           A.   I do not know. I can estimate
    23   it's not his report. Now, if he wants                  23   that, based on all his e-mails that were
    24   to continue answering, it's his choice.                24   leaked, someone prepared that report.
    25             Go ahead, answer.                            25           Q.   Well, this is almost a year
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC


                                                          190                                                           192


     1   BY MR. BEHRE:                                           1   before the data was placed on the Internet.
     2        Q.   (Not translated.) So if you look              2                The date --
     3   at page 3, there's what clearly appears to              3           A.   If you believe what is written
     4   be a stolen copy of Farhad Azima's passport.            4   here.
     5   If you look at page 6, you'll see --                    5           Q.   The date?
     6             THE INTERPRETER: May I? Counsel,              6           A.   Yes.
     7   may I?                                                  7           Q.   So you think this is a falsified
     8             (Last comment translated.)                    8   date?
     9   BY MR. BEHRE:                                           9           A.   I don't know. I have no clue.
    10        Q.   If you look at page 6, there                 10           Q.   Well, at 11:41 this morning, you
    11   is data about the specific balance, down               11   said that the reports you wrote started with
    12   to the U.S. dollar, in his bank accounts,              12   an executive summary; right?
    13   stolen financial data.                                 13           A.   Correct.
    14             And if you look at page 7, there's           14           Q.   And you also stated that they were
    15   more stolen financial data about his brokerage         15   followed by a breakdown of the findings of
    16   accounts at HSBC and Credit Suisse, right              16   the investigation; correct?
    17   down to the dollar.                                    17           A.   Correct.
    18             Do you see that?                             18           Q.   And that's exactly what this report
    19        A.   Yes.                                         19   does, doesn't it?
    20        Q.   Look at page 10 and 11.                      20           A.   I also said that I -- I sent them
    21             Did you prepare these organizational         21   in an open format to Mr. Stuart Page. And
    22   charts, or people under your direction?                22   I also said that I did not retain any report.
    23        A.   No.                                          23           Q.   Were you involved in writing this
    24        Q.   Do you know who did?                         24   report?
    25        A.   No.                                          25           A.   No.
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC
                                                           193                                                          195
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 49 of 52
     1           Q.   A few minutes ago, you said you --          1        A.     First of all, I don't remember
     2   you weren't sure one way or the other.                   2   if this report was even produced by us.
     3                Why are you now sure you weren't            3   And by "attack," it means an intelligence
     4   involved in it?                                          4   attack.
     5           A.   Because I see that this is a                5        Q.     (Not translated.) Previously
     6   report of an investigation on Farhad Azima.              6   you said that Farhad Azima was not
     7   And we never investigated Farhad Azima.                  7   investigated.
     8                (Exhibit 11 marked.)                        8        A.     And that's why I have doubts
     9   BY MR. BEHRE:                                            9   as to whether this is indeed a report
    10           Q.   (Partially translated.) I'm                10   that we produced.
    11   showing you next what has been marked                   11        Q.     Look at the third page. Quote:
    12   as Exhibit No. 11. It's entitled:                       12               "We have been supplying the
    13                "Project Beech - Comprehensive             13   client with intelligence 'ammunition'
    14   Action Plan."                                           14   against KM and other relevant players
    15                It's dated January 26, 2016.               15   such as SI and FA."
    16                THE INTERPRETER: What's the                16               End quote.
    17   date?                                                   17               "FA" is Farhad Azima, isn't it?
    18                MR. BEHRE: January 26, 2016.               18        A.     I don't know who the "we" is.
    19                Please --                                  19        Q.     Look at page 6. The heading is
    20                (Remainder of pending question             20   entitled:
    21           translated.)                                    21               "PR and Media Tools against FA."
    22                THE WITNESS: (Examining.)                  22               Do you see that?
    23   BY MR. BEHRE:                                           23        A.     Yes.
    24           Q.   Have you had a chance to read              24        Q.     And you can see there that it's
    25   that?                                                   25   talking about, in the second paragraph:
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC


                                                           194                                                          196


     1           A.   (In English.) Yeah.                         1               "There are other issues
     2                (Translated.) Just I scanned                2   that can be" effectively -- "effective
     3   through it as quickly as I could.                        3   regarding FA's reputation and even
     4           Q.   And that's one of the Project               4   pose him a criminal exposure." (As read.)
     5   Beech reports you prepared, isn't it?                    5               End quote.
     6           A.   I have no way of knowing, because           6               Do you see that?
     7   I didn't keep any of the documents. It's                 7        A.     Yes.
     8   possible that we prepared part of it and                 8        Q.     So it's clear, from that entry
     9   parts of it were added by Stuart afterwards.             9   at this page 6, that Farhad Azima was
    10   I have no way of knowing.                               10   being investigated, he was being targeted,
    11           Q.   Directing your attention to the            11   and he was being exposed as a potential,
    12   second page, there's a photograph embedded              12   having criminal liability.
    13   in this graph, or this chart, with a                    13               Do you see that?
    14   photograph of Farhad Azima and Khater                   14        A.     I didn't say he wasn't. I just
    15   Massaad.                                                15   said that I and the people that I represent
    16                Do you see that?                           16   didn't do it. Fact -- it -- the fact is
    17           A.   Yes.                                       17   that somebody hacked him.
    18           Q.   And the legend of the chart says           18        Q.     Look at page 7.
    19   those items in red suggest targets for                  19               "We have access to a groundbreaking
    20   future attack.                                          20   technology."
    21                Do you see that?                           21               And that's a quote.
    22           A.   Yes.                                       22               That groundbreaking technology
    23           Q.   And so not only was Mr. Azima              23   was hacking, wasn't it?
    24   being investigated, he was being targeted               24        A.     No. First of all, I don't know
    25   and attacked, wasn't he?                                25   who wrote this document and who has this
                         JULY 20, 2022 - AMIT FORLIT                                  JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                       30(B)(6) SDC-GADOT LLC
                                                             197                                                         199
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 50 of 52
     1   technology. And if somebody has hacking                    1   and leaked his computers.
     2   ability, they just write that they can                     2                And based on the procedures
     3   hack.                                                      3   that are used in the U.S., I think you
     4           Q.   And then on page 9, the war                   4   know who it is.
     5   terms continue:                                            5           Q.   And who would that be?
     6                "In order to eliminate FA's                   6           A.   Nick Del Rosso. According --
     7   activity" against the -- "regarding                        7   based on the proceedings against Nick
     8   the client," it says. (As read.)                           8   Del Rosso, I conclude that.
     9                Do you see that?                              9           Q.   And what's your basis for
    10           A.   Where is it approximately on                 10   saying Nick Del Rosso is the party who
    11   the page?                                                 11   wrote this report?
    12           Q.   (Not translated.) Page 9 --                  12                Is that what you're saying?
    13                THE INTERPRETER: Page --                     13           A.   I didn't say Nick Del Rosso
    14   BY MR. BEHRE:                                             14   wrote this report. I said that we did
    15           Q.   (Not translated.) -- under:                  15   not write this report.
    16                "5. Involvement of" the "U.S.                16                And based on all the proceedings
    17   Relevant Authorities." (As read.)                         17   that are being carried out, the person
    18           A.   This looks like a strategic document         18   who is responsible for the hack and the
    19   that somebody prepared. And this -- this                  19   leaks of the hacking is Nick Del Rosso.
    20   is not a subject we deal with.                            20           Q.   Now, you indicated that Nick
    21           Q.   Well, not only does this document            21   Del Rosso and Stuart Page did not get
    22   entitled "Project Beech" --                               22   along; right?
    23                MR. BARET: Excuse me. That's                 23           A.   I heard from Stuart that he
    24   not what he said.                                         24   didn't like, to put it mildly, Nick Del
    25                He said: "It's not our document."            25   Rosso. But I -- I didn't even know if
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC


                                                             198                                                         200


     1                THE INTERPRETER: Aah, you're right.           1   they knew each other.
     2   Thank you.                                                 2           Q.   And the reason Stuart Page
     3                MR. BARET: Okay.                              3   didn't like Nick Del Rosso is because
     4                THE INTERPRETER: "And it's not our            4   Stuart Page thought Nick Del Rosso was
     5   document."                                                 5   taking business away from Stuart Page;
     6                Thank you.                                    6   correct?
     7   BY MR. BEHRE:                                              7           A.   I don't know.
     8           Q.   This document is labeled:                     8           Q.   (Not translated.) Nick Del
     9                "Project Beech."                              9   Rosso didn't report to Stuart Page,
    10                You were involved in Project Beech.          10   did he, because they hated each other?
    11   And this establishes, just like the last                  11           A.   To the best of my knowledge,
    12   document, contrary to your testimony, that                12   no.
    13   Farhad Azima was not only being investigated,             13           Q.   And so, therefore, Nick Del
    14   he was being attacked, he was being targeted,             14   Rosso is not a likely suspect for the
    15   and he was in jeopardy because of that.                   15   content of this report, since he would
    16                Isn't that right?                            16   have had to give it to his archenemy,
    17           A.   As I said, my reports on Project             17   Stuart Page, to incorporate it in the
    18   Beech were sent to Stuart Page in an open                 18   report; right?
    19   format. I don't know who else Stuart used                 19           A.   (Translated.) I'm not attributing
    20   the name Project Beech with. He made up                   20   this report to anyone's authorship. I'm
    21   that name.                                                21   just saying that we didn't write it and
    22                I know that we did not investigate           22   we did not investigate --
    23   Farhad Azima. We did not target him as                    23                (In English.) Farhad Azima.
    24   a target. But it's quite clear that                       24                THE INTERPRETER: Sorry. It's
    25   somebody did, because somebody hacked                     25   late.
                         JULY 20, 2022 - AMIT FORLIT                                    JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                         30(B)(6) SDC-GADOT LLC
                                                            201                                                                 203
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 51 of 52
     1                MR. BARET: Say "FA." Just                    1   in your presence?
     2   use --                                                    2                MR. BARET: Yes.
     3                THE INTERPRETER: "FA."                       3                MR. BEHRE: Okay. One second. I'm
     4                MR. BARET: -- "FA."                          4   almost done. Okay. That's all I have. Thank
     5                THE INTERPRETER: Yeah. It's                  5   you very much.
     6   late in the day.                                          6                THE VIDEOGRAPHER: Going off the
     7   BY MR. BEHRE:                                             7   record at 6:49.
     8           Q.   Stuart Page paid you millions                8                (The deposition concluded at 6:49 p.m.
     9   of dollars and your company, including                    9        Israel Daylight Time.)
    10   SDC-Gadot; correct?                                      10
    11           A.   That is correct.                            11
    12           Q.   And -- and he paid you to                   12
    13   perform work for Project Beech; correct?                 13
    14           A.   Yes, he paid me. But I don't                14
    15   know how much he charged for it. I don't                 15
    16   know what proportion of what he got he                   16
    17   paid me.                                                 17
    18                The bottom line is I don't know             18
    19   what reports were submitted to the client.               19
    20   I know what I sent to Stuart Page. But                   20
    21   I don't know what he submitted afterwards.               21
    22           Q.   Do you know what portion of this            22
    23   particular report, Exhibit 11, you provided              23
    24   to Stuart Page?                                          24
    25           A.   No. We don't have any documentation         25
                         JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC


                                                            202                                                                 204


     1   of these reports in our records. I don't                  1                    CERTIFICATE OF REPORTER
     2   know.                                                     2
     3           Q.   Well, Stuart Page was your boss.             3                I, BRENDA MATZOV, CSR NO. 9243, do
     4   And he paid you millions of dollars. And                  4   hereby certify:
     5   he said you and your team authored every                  5                That, prior to being examined, the
     6   one of these project updates about Project                6   witness named in the foregoing deposition was
     7   Beech.                                                    7   asked to acknowledge that their testimony will
     8                Is that accurate?                            8   be true under the penalties of perjury and will
     9           A.   Stuart Page told me, before                  9   be the truth, the whole truth, and nothing but
    10   he gave his affidavit, that he tried                     10   the truth.
    11   to commit suicide twice because they                     11                That the foregoing deposition was taken
    12   pressured him and forced him to cooperate.               12   before me, at which time the aforesaid proceedings
    13                What I know is that we sent                 13   were stenographically recorded by me and thereafter
    14   reports to Stuart Page, at his request                   14   transcribed by me;
    15   the reports were left open, and that                     15                That the foregoing transcript, as typed,
    16   we did not investigate Farhad Azima.                     16   is a true record of the said proceedings;
    17           Q.   (Not translated.) Earlier                   17                And I further certify that I am not
    18   today you had some, I think, ten or                      18   interested in the action.
    19   eleven pages of notes. And we'd ask                      19
    20   that that be marked as an exhibit since                  20                Dated this 30th day of July, 2022.
    21   the witness had it in front of him.                      21
    22                MR. BARET: He did not use it.               22                _________________________________________
                                                                                    BRENDA MATZOV, CSR NO. 9243
    23   It's privileged. It's notes we prepared                  23
    24   just going over --                                       24
    25                MR. BEHRE: His notes were prepared          25
                         JULY 20, 2022 - AMIT FORLIT                                   JULY 20, 2022 - AMIT FORLIT
                           30(B)(6) SDC-GADOT LLC                                        30(B)(6) SDC-GADOT LLC
                                                                   205
Case 1:22-cv-20707-JEM Document 47-1 Entered on FLSD Docket 08/09/2022 Page 52 of 52
     1                  CERTIFICATE OF WITNESS
     2
     3             I, AMIT FORLIT, witness herein, do
     4   hereby certify and declare the within and
     5   foregoing transcription to be my examination
     6   under oath in said action taken on July 20,
     7   2022, with the exception of the changes
     8   listed on the errata sheet, if any;
     9             That I have read, corrected, and
    10   do hereby affix my signature under penalty
    11   of perjury to said examination under oath.
    12
    13
    14
    15
    16   ____________________________________    _____________
                 AMIT FORLIT, Witness                 Date
    17
    18
    19
    20
    21
    22
    23
    24
    25
                      JULY 20, 2022 - AMIT FORLIT
                        30(B)(6) SDC-GADOT LLC


                                                                   206


     1                       ERRATA SHEET
     2   Case:     FARHAD AZIMA vs. INSIGHT ANALYSIS AND
     3             RESEARCH LLC AND SDC-GADOT LLC
     4   Date:     JULY 20, 2022
     5   Witness: AMIT FORLIT
     6
     7   Page _____ Line _____ Change _______________________
     8   Reason _____________________________________________
     9   Page _____ Line _____ Change _______________________
    10   Reason _____________________________________________
    11   Page _____ Line _____ Change _______________________
    12   Reason _____________________________________________
    13   Page _____ Line _____ Change _______________________
    14   Reason _____________________________________________
    15   Page _____ Line _____ Change _______________________
    16   Reason _____________________________________________
    17   Page _____ Line _____ Change _______________________
    18   Reason _____________________________________________
    19   Page _____ Line _____ Change _______________________
    20   Reason _____________________________________________
    21   Page _____ Line _____ Change _______________________
    22   Reason _____________________________________________
    23
         ____________________________________      _____________
    24           AMIT FORLIT, Witness                   Date
    25
                      JULY 20, 2022 - AMIT FORLIT
                        30(B)(6) SDC-GADOT LLC
